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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


ALYESKA MASTER FUND, L.P.,           Master File _____________________
ALYESKA MASTER FUND 2, L.P., and
ALYESKA MASTER FUND 3, L.P.,

                 Plaintiffs,         COMPLAINT AND JURY DEMAND

                v.                   JURY TRIAL DEMANDED

ALTA MESA RESOURCES, INC., f/k/a     ECF CASE
SILVER RUN ACQUISITION
CORPORATION II; RIVERSTONE
HOLDINGS LLC; ARM ENERGY
HOLDINGS LLC; BAYOU CITY ENERGY
MANAGEMENT, LLC; HPS
INVESTMENT PARTNERS, LLC;
JAMES T. HACKETT, HARLAN H.
CHAPPELLE, WILLIAM GUTERMUTH,
JEFFREY H. TEPPER, DIANA J.
WALTERS; MICHAEL E. ELLIS;
RONALD SMITH; DON DIMITRIEVICH;
PIERRE F. LAPEYRE, JR.; DAVID M.
LEUSCHEN; WILLIAM W. MCMULLEN;
DONALD SINCLAIR; STEPHEN COATS;
and THOMAS J. WALKER,

                 Defendants.
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       Plaintiffs Alyeska Master Fund, L.P., Alyeska Master Fund 2, L.P., and Alyeska Master Fund 3,

L.P. (together, “Alyeska” or “Plaintiffs”), through their undersigned attorneys, bring this direct

action (the “Action”) by way of this Complaint and Jury Demand, for their claims against

Defendants Alta Mesa Resources, Inc. (“Alta Mesa”, or the “Company”), James T. Hackett,

Thomas J. Walker, William Gutermuth, Jeffrey H. Tepper, Diana J. Walters, Stephen Coats

(together, the “Proxy Defendants”), Harlan H. Chappelle, Michael E. Ellis, Ronald Smith

(together, the “Management Defendants”), David M. Leuschen, Pierre F. Lapeyre, Jr., William W.

McMullen, Don Dimitrievich, Donald Sinclair (together, with Hackett, Gutermuth, Tepper, and

Walters, the “Board Defendants”), Riverstone Holdings LLC (“Riverstone”), Bayou City Energy

Management, LLC (“Bayou City”), HPS Investment Partners, LLC (“HPS”), and ARM Energy

Holdings LLC (“ARM Energy,” and together with Riverstone, Bayou City, and HPS, the “Control

Entity Defendants”), allege the following upon personal knowledge as to themselves and their own

acts, and upon information and belief as to all other matters.

       Plaintiffs’ information and belief is based on, inter alia, an investigation by their attorneys,

which investigation includes, among other things, a review and analysis of: filings by Alta Mesa

with the United States Securities and Exchange Commission (“SEC”); press releases, public

documents and media reports concerning Alta Mesa; analyst reports concerning Alta Mesa;

transcripts of conference calls and earnings calls involving Alta Mesa; pleadings, motion papers,

transcripts and exhibits to declarations filed in the bankruptcy proceedings styled In re Alta Mesa

Resources, Inc. & Alta Mesa Holdings, LP, Case No. 19-35133-H1-11 (S.D. Tex. Bankr.) (the

“Bankruptcy Proceeding”), including adversary proceedings filed therein; pleadings, motion

papers and exhibits to declarations filed in the matter In re Alta Mesa Resources, Inc. Securities

Litigation, Case No. 4:19-cv-00957 (S.D. Tex.) (the “Class Action”); the Court’s April 14, 2021



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Opinion in the Class Action (No. 19-cv-957, ECF No. 160); and other public information regarding

the Company. Many of the facts supporting the allegations contained herein are known only to

Defendants or are exclusively within their custody and/or control. Plaintiffs believe that further

substantial evidentiary support will exist for the allegations in this Complaint after a reasonable

opportunity for discovery.

I.     NATURE OF THE ACTION

       1.      This securities fraud, common law, and Texas statutory action arises from the

sustained and intentional abuse by Defendants of the corporate form known as a special purpose

acquisition company (“SPAC”)—in which a blank-check company conducts an initial public

offering and then subsequently merges with an operating company that then becomes publicly

traded—in order to mislead public investors, including Alyeska, and perpetrate Defendants’ fraud.

       2.      The SEC and market commentators have warned that SPACs have the potential to

defraud public investors while at the same time enriching company insiders and promoters.

Indeed, on March 30, 2022, the SEC issued a raft of proposed rules to further regulate SPACs in

order to deter abuses and frauds that have occurred and protect public investors.

       3.      Defendants’ conduct, as alleged herein, is a paradigmatic example of the abusive

SPAC conduct that the SEC is seeking to deter. Defendants deceived public investors, including

Alyeska, while benefiting Defendants. Specifically, private equity company Riverstone created

SPAC, Silver Run Acquisition Corp. II (“Silver Run”), that went public in March 2017 and sought

to merge with a private energy company.

       4.      On August 17, 2018, Silver Run announced that it would merge with Alta Mesa

Holdings (“AMH”), an oil and gas producer that concentrated on drilling in the so-called STACK




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area of Oklahoma,1 and Kingfisher Midstream LLC (“Kingfisher”), a midstream company

operating in the STACK that was intertwined with AMH, its biggest customer.

       5.      From the announcement of the Silver Run-AMH-Kingfisher merger (the “Merger”)

and continuing after the Merger was consummated, forming Alta Mesa, Defendants engaged in a

continuous, intentional campaign of materially false and misleading statements designed to

deceive public investors, including Alyeska. These included statements, which were materially

false and misleading when made, about, among other things: (i) AMH’s oil reserves; (ii) projected

2018 and 2019 earnings for AMH and Kingfisher; (iii) Alta Mesa’s ability to sustain growth;

(iv) Alta Mesa’s undisclosed strategic decisions to prioritize temporary oil production gains at the

expense of long-term production viability; and (v) Alta Mesa’s internal controls over financial

reporting.

       6.      Unbeknownst to the investing public, including Alyeska, at the time Defendants

made these statements, they knew but intentionally did not disclose that: (i) the production results

from AMH’s drilling through 2017 did not support the projections made to investors, including

Alyeska; (ii) as a result, and also because Kingfisher had essentially been looting AMH through

unfair related-party contracts, Kingfisher’s projections made to investors, including Alyeska, were

similarly unachievable; (iii) AMH and Alta Mesa’s drilling approach and techniques, including

drilling too many wells per pad, too close together, and using S-shaped wellbores, rendered the

production projections false when made; and (iv) Alta Mesa had material weaknesses in its internal

controls over financial reporting.

       7.      Indeed, this Court has already held that Plaintiffs in the Class Action “have detailed



1
 The STACK is the acronym for an oil exploration area in a specific geographic region in the
Anadarko Basin area of Oklahoma. It stands for Sooner Trend (oil field), Anadarko (basin),
Canadian and Kingfisher (counties).
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numerous statements by various defendants from SEC filings, press releases, conferences, and

earnings calls,” and that the “circumstances surrounding the company’s financial reporting . . . are

alone enough to entitle Plaintiffs to discovery.” (No. 19-cv-957, ECF No. 160, at 25.)

       8.      It did not take long for Defendants’ lies to catch up with Alta Mesa.

       9.      In February 2019—just one year after Silver Run merged with AMH and

Kingfisher—Alta Mesa was required to take a $3.1 billion write-down. Alta Mesa ultimately filed

for Chapter 11 bankruptcy protection on September 11, 2019. Thus, within two years of the

merger, Alta Mesa had gone belly up, and its common stock had fallen over 99%. Those stock

price decreases inflicted millions of dollars of damages on Alyeska.

       10.     Defendants’ conduct was intentional. Defendants were highly motivated to make

any statements—even materially false and misleading statements—that would encourage Silver

Run shareholders to vote for the acquisition of AMH and Kingfisher. As a blank-check SPAC, if

Silver Run did not merge with an operating company within two years of its March 2017 initial

public offering, it would be forced to repurchase all of Silver Run shares from public investors and

Riverstone would lose its entire investment.

       11.     Likewise, Bayou City, HPS, and ARM had enormous incentives to lie to investors

about the prospects of AMH and Kingfisher because those entities stood to profit to the tune of

more than $1 billion if the merger were successful. Those entities also were in line to profit from

a planned spinoff of Kingfisher as a separate, publicly traded midstream company.

       12.     Thus, from top to bottom, Defendants were specially financially motivated to

commit the fraud and misconduct alleged herein. Indeed, in denying the motion to dismiss the

Class Action Complaint, the Court held that severe recklessness, sufficient to plead scienter under

Section 10(b), was shown based on allegations that (i) the $3.1 billion February 2019 write-down



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“constituted over 80% of Alta Mesa’s value and was disclosed a year after the special purpose

acquisition company merger”; (ii) “[t]he write-down came simultaneously with the news that Alta

Mesa’s accounting firm identified sixteen ‘material weaknesses’ in Alta Mesa’s internal control

over financial reporting,” including (a) “ineffective controls over the identification and processing

of relevant and reliable information,” (b) “ineffective controls over the financial statement close

and disclosure process, including the completeness, existence and accuracy of the financial

information,” and (c) “ineffective management review controls over various complex accounting

estimates”; (iii) “[t]he SEC is investigating the write-down and Alta Mesa’s accounting practices”;

and (iv) the Class Action Complaint included “accounts of two production engineers” that “AMH

and Alta Mesa clandestinely used unconventional and unsustainable drilling methods to inflate

reserve and earnings estimates both before and after the merger.” (No. 19-cv-957, ECF No. 160,

at 27-28.)

II.    JURISDICTION AND VENUE

       13.       The claims asserted herein arise under and pursuant to Sections 10(b), 14(a), 18 and

20(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78j(b), 78n, 78r,

and 78t(a), and SEC Rule 10b-5 (17 C.F.R. §§ 240.10b-5), as well as under common and Texas

statutory law.

       14.       This Court has jurisdiction over this Action under 28 U.S.C. §§ 1331 and 1337, and

Section 27 of the Exchange Act (15 U.S.C. § 78aa), and has supplemental jurisdiction over the

common law and Texas statutory claims pursuant to 28 U.S.C. § 1367(a).

       15.       Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

U.S.C. § 78aa(c)), as well as 28 U.S.C. § 1391(b), because Alta Mesa maintains offices in this

District and many of the acts giving rise to the violations complained of in this Action, including



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the preparation and dissemination of materially false and misleading statements, occurred in

substantial part in this District. In addition, Alta Mesa’s bankruptcy case is pending in this District.

        16.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including but not limited

to the United States mails, interstate telephone communications, and the facilities of the national

securities exchanges and markets.

III.    PARTIES

        A.      Plaintiffs

        17.     Plaintiff Alyeska Master Fund, L.P. is a Cayman Islands exempted limited

partnership. Plaintiff Alyeska Master Fund, L.P.’s investment activities are managed by its

investment manager, Alyeska Investment Group, L.P. (“Alyeska Investment”). Plaintiff Alyeska

Master Fund, L.P. purchased Alta Mesa’s common stock at artificially inflated prices and held

through the dates of some or all of the disclosures alleged herein.

        18.     Plaintiff Alyeska Master Fund 2, L.P. is a Cayman Islands exempted limited

partnership. Plaintiff Alyeska Master Fund 2, L.P.’s investment activities are managed by its

investment manager, Alyeska Investment. Plaintiff Alyeska Master Fund, L.P. purchased Alta

Mesa’s common stock at artificially inflated prices and held through the dates of some or all of the

disclosures alleged herein.

        19.     Plaintiff Alyeska Master Fund 3, L.P. is a Cayman Islands exempted limited

partnership. Plaintiff Alyeska Master Fund 3, L.P.’s investment activities are managed by its

investment manager, Alyeska Investment. Plaintiff Alyeska Master Fund, L.P. purchased Alta

Mesa’s common stock at artificially inflated prices and held through the dates of some or all of the

disclosures alleged herein.



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       B.     Defendants

              1.      Defendant Alta Mesa

       20.    Alta Mesa was an oil and gas company with its principal place of business at 15021

Katy Freeway, Suite 400, Houston, Texas 77094. The Company was incorporated in Delaware

and was focused on oil and gas exploration and production in the Anadarko Basin of Oklahoma.

Prior to its bankruptcy filing on September 11, 2019, its Class A common shares traded on the

NASDAQ under the symbol “AMR” and its public warrants traded under the symbol “AMRWW.”

Prior to the closing of the Merger in February 2018, Alta Mesa was a “blank check” company

named Silver Run Acquisition Corporation II and its Class A stock traded on the NASDAQ under

the symbol “SRUN,” its public warrants traded under the symbol “SRUNW,” and its ownership

units, which contained both stock and fractional warrants, traded under the symbol “SRUNU.”

              2.      Proxy Defendants

       21.    Defendant James T. Hackett was the CEO and a director of Alta Mesa prior to the

Merger and became Executive Chairman of the Alta Mesa Board of Directors (the “Board”)

following the Merger. Defendant Hackett was also the Chief Operating Officer (“COO”) of

Kingfisher and became Interim CEO of Alta Mesa following Defendant Chappelle’s December

26, 2018 resignation. At the time of the Merger, Defendant Hackett was a Partner at Riverstone

and co-head of Riverstone’s Houston office. Prior to joining Riverstone in 2013, Hackett served

as Chairman and CEO of Anadarko Petroleum Corporation. Defendant Hackett signed Alta

Mesa’s Proxy and the March 29, 2018 Form 10-K and spoke on Alta Mesa’s behalf during

numerous investor earnings calls.

       22.    Defendant Thomas J. Walker served as the CFO of Alta Mesa prior to the Merger.

At the time, Walker was also a Partner of Defendant Riverstone. Defendant Walker signed Alta

Mesa’s August 16, 2017 Form 8-K.

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       23.    Defendant William Gutermuth served as a member of Alta Mesa’s Board of

Directors at the time of the Merger. Defendant Gutermuth signed Alta Mesa’s March 29, 2018

Form 10-K.

       24.    Defendant Jeffrey H. Tepper served as a member of Alta Mesa’s Board of Directors

at the time of the Merger. Defendant Tepper signed Alta Mesa’s March 29, 2018 Form 10-K.

       25.    Defendant Diana J. Walters served as a member of Alta Mesa’s Board of Directors

at the time of the Merger. Defendant Walters signed Alta Mesa’s March 29, 2018 Form 10-K.

       26.    Defendant Stephen Coats was Silver Run’s corporate secretary prior to the Merger.

Defendant Coats is a Partner, General Counsel and Chief Administrative Officer at Defendant

Riverstone.

       27.    The above-named individual defendants are collectively referred to herein as the

“Proxy Defendants.” The Proxy Defendants were Alta Mesa’s six Officers and Directors at the

time the Proxy was drafted and issued. The Proxy was issued “By Order of the Board of Directors”

and the Board recommended “that Silver Run stockholders vote FOR each of the Proposals.”

              3.      The Management Defendants

       28.    Defendant Harlan H. Chappelle was the Chief Executive Officer (“CEO”) of the

combined publicly traded Alta Mesa entity following the Merger, as well as a member of Alta

Mesa’s Board of Directors. Defendant Chappelle had previously served as AMH’s CEO since

2004. Defendant Chappelle resigned from Alta Mesa effective December 26, 2018. Defendant

Chappelle signed Alta Mesa’s March 29, 2018 Form 10-K, May 21, 2018 From 10-Q, August 15,

2018 Form 10-Q and November 14, 2018 Form 10-Q, as well as spoke on numerous earnings calls.

       29.    Defendant Michael E. Ellis was a Silver Run Vice President and Chief Operating

Officer – Upstream following the Merger, and a member of Alta Mesa’s Board of Directors.



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Defendant Ellis signed Alta Mesa’s March 29, 2018 Form 10-K. Defendant Ellis resigned from

Alta Mesa effective December 26, 2018.

       30.    Defendant Ronald Smith was the Chief Accounting Officer for Alta Mesa.

Defendant Smith signed Alta Mesa’s March 29, 2018 10-K. Defendant Smith resigned from his

role at Alta Mesa in July 2019 in the midst of the SEC’s investigation into the Company’s

accounting practices.

       31.    Defendants Chappelle, Ellis and Smith are referred to collectively herein as the

“Management Defendants.”

              4.        The Board Defendants

       32.    Defendant David M. Leuschen served as a member of Alta Mesa’s Board of

Directors. Defendant Leuschen is a Founder of Defendant Riverstone and has been a Senior

Managing Director at Riverstone since 2000. Defendant Leuschen signed Alta Mesa’s March 29,

2018 Form 10-K.

       33.    Defendant Pierre F. Lapeyre Jr. served as a member of Alta Mesa’s Board of

Directors during the Class Period. Defendant Lapeyre is a Founder of Defendant Riverstone and

has been a Senior Managing Director at Riverstone since 2000. Defendant Lapeyre signed Alta

Mesa’s March 29, 2018 Form 10-K.

       34.    Defendant William W. McMullen served as a member of Alta Mesa’s Board of

Directors following the Merger. Defendant McMullen is the Founder and Managing Partner of

Defendant Bayou City Energy Management, LLC. Defendant McMullen signed Alta Mesa’s

March 29, 2018 Form 10-K.

       35.    Defendant Don Dimitrievich served as a member of Alta Mesa’s Board of Directors

following the Merger.     Defendant Dimitrievich is a Managing Director at Defendant HPS



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Investment Partners, LLC. Defendant Dimitrievich signed Alta Mesa’s March 29, 2018 Form 10-

K.

       36.    Defendant Donald Sinclair served as a member of Alta Mesa’s Board of Directors

following the Merger. Defendant Sinclair signed Alta Mesa’s March 29, 2018 Form 10-K.

       37.    The above-named Defendants – Leuschen, Lapeyre, McMullen, Dimitrievich and

Sinclair – along with Defendants Hackett, Gutermuth, Tepper and Walters, are referred to

collectively as the “Board Defendants.”

              5.      The Control Entity Defendants

       38.    Defendant Riverstone is a private equity firm focused on the energy sector and is

comprised of, as relevant hereto, Riverstone Holdings, LLC, Riverstone Investment Group LLC

and Riverstone VI SR II Holdings, LP. Defendant Riverstone and its affiliates created Alta Mesa,

and sponsored the IPO and the Merger through various related affiliates and investment vehicles.

Prior to the Merger, all of Alta Mesa’s management was employed by Riverstone. Following the

Merger, Riverstone appointed three directors to Alta Mesa’s Board of Directors – Defendants

Hackett, Leuschen and Lapeyre.

       39.    Defendant Bayou City Energy Management, LLC (“Bayou City”) is an energy-

focused private equity firm based in Houston, Texas. Bayou City has been involved with AMH

since at least January 2016, when it entered into a joint development agreement with AMH to fund

a portion of AMH’s drilling operations. Bayou City also owns approximately 40% of relevant

non-party High Mesa (the owner of AMH prior to the Merger and a partial owner of Alta Mesa

following the Merger). Bayou City has two members on High Mesa’s board of directors and also

appointed its founder and managing partner William McMullen to the Alta Mesa Board of

Directors.



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       40.    Defendant HPS Investment Partners, LLC (“HPS”) is a global investment firm.

HPS was formerly affiliated with J.P. Morgan Asset Management and was known as Highbridge

Principal Strategies. HPS owns a significant portion of Alta Mesa and appointed one of its

managing directors, Defendant Dimitrievich, to the Alta Mesa Board of Directors.

       41.    Defendant ARM Energy Holdings LLC (“ARM Energy”) is a producer services

firm active in all major North American oil and gas basins. Prior to the Merger, ARM was the

founder and majority owner of Kingfisher. ARM continued to be a shareholder of Alta Mesa

following the closing of the Merger.

       42.    Defendants Riverstone, Bayou City, HPS and ARM Energy are collectively

referred to herein as the “Control Entity Defendants.” Defendants Bayou City, HPS and ARM

Energy provided the operational information contained in the Proxy and were unjustly enriched

when they received over $1.3 billion from the Merger.

       C.     Relevant Non-Parties

       43.    High Mesa Holdings GP, LLC and High Mesa Holdings, LP (together, “High

Mesa” or “HMI”) were the owners and general partner of AMH prior to the Merger, and continued

to own and control a portion of Defendant Alta Mesa and SRII Opco following the Merger. High

Mesa also was a partial owner of Kingfisher prior to the Merger. Defendant Bayou City owns

approximately 40% of High Mesa and appointed two members to High Mesa’s board of directors

(Mark Stoner and Defendant McMullen). Defendant Chappelle is also affiliated with High Mesa.

High Mesa filed for Chapter 7 bankruptcy protection on January 24, 2020.

IV.    FACTUAL ALLEGATIONS

       A.     The Formation of the Silver Run SPAC Vehicle

       44.    Alta Mesa began as a special purpose acquisition company called Silver Run

Acquisition Corporation II. A special purpose acquisition company or SPAC is a shell (or blank-
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check) company that exists solely to raise funds through an IPO that are then used to acquire an

operating company.

       45.     The target company cannot be identified before the SPAC completes its IPO. At

least 90% of the capital raised in the IPO must be deposited into a trust account, with the interest

paid to the investors. The SPAC’s management team must identify and acquire a target company

within a specified time period, typically between 18 and 24 months. Under NASDAQ rules, the

target company must have a fair market value equal to 80% of the balance in the SPAC’s trust

account. If the special purpose acquisition company’s management team fails to acquirea target

company within the specified time period, then the SPAC is dissolved and the IPO proceeds are

returned to the investors. No salaries, finder’s fees or other cash compensation are paid to the

founders and/or management team if they fail to consummate a successful business combination.

As explained by one commentator, SPACs “are a form of reverse merger”—a term used when “a

successful private company merges with a listed empty shell to go public without the paperwork

and rigors of a traditional IPO.” Ivana Naumovska, The SPAC Bubble is About to Burst, HARVARD

BUSINESS REVIEW, Feb. 18, 2021, https://hbr.org/2021/02/the-spac-bubble-is-about-to-burst.

       46.     Beginning in 2021, the SEC’s Investor Advisory Committee (“IAC”) began

examining SPACs with an eye toward proposing that the SEC regulate SPACs more intensively

with enhanced focus and stricter enforcement of existing disclosure rules under the Exchange Act.

While legitimate vehicles when used by responsible sponsors and managers, unscrupulous sponors

and management could abuse the SPAC vehicle for their own benefit. In laying out its case for

greater transparency, the IAC prepared the following background statement on SPACs:


         In simple terms, a SPAC is a type of “blank-check” company that raises capital
         through an initial public offerings (“IPO”) with the intention to use the proceeds
         to acquire other companies at a later time. Unlike traditional IPOs, SPACs do


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         not have commercial operations at the time of the IPO, which explains why they
         are referred to as “blankcheck” or “shell” companies. SPACs first appeared in
         the 1980s but have gained accelerating popularity in recent years, especially
         since 2020. . . . After the SPAC completes a merger with the target company,
         the previously privately held target company becomes a publicly listed operating
         company. This last step of creating the listed successor company is referred to
         as a “de-SPAC” transaction.

SPACs can be an attractive option for sponsors because they can raise money rapidly
without having to deal with company preparation or company specific disclosure at the
time of the IPO. . . . Furthermore, the transactions by their very nature are complex and
have some misalignments between the initial investors, sponsors, investors in the target
and any intermediate financiers joining the de-SPAC transaction.
       47.      The SEC’s (well-founded) concern about misalignment between unscrupulous

sponsors and investors arises from the fact that the sponsors have a greater incentive to identify a

target and consummate a deal – regardless of the long-term prospects of that deal – thereby

enabling the sponsor to monetize its so-called founder shares and avoid having to return the

original investment principal to the SPAC’s shareholders, even if that meant consummating a

transaction that is bad for and not well-disclosed to ordinary investors. While many SPAC sponsors

have no doubt analyzed deals with an eye toward what is good for both themselves and investors,

many others have not. Thus, as the SEC has cautioned, in describing the two-step nature of SPAC

transactions:


         A SPAC is a shell company with no operations. It proceeds in two stages. In
         the first stage, it registers the offer and sale of redeemable securities for cash
         through a conventional underwriting, sells them primarily to hedge funds and
         other institutions, and places the proceeds in a trust for a future acquisition of a
         private operating company. Initial investors also commonly obtain warrants to
         buy additional stock as at a fixed price, and sponsors of the SPAC obtain a
         “promote” – greater equity than their cash contribution or commitment would
         otherwise imply – and their promote is at risk. If the SPAC fails to find and
         acquire a target within a period of two years, the promote is forfeited and the
         SPAC liquidates.
       48.      Thus, before the SPAC files for its IPO, the sponsor will pay a nominal amount,


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often $25,000, for a number of founder shares which gives them up to 20% of the total shares

outstanding after completion of the IPO. Those shares are then typically redeemable upon

consummation of the de-SPAC transaction.

       49.     On March 30, 2022, the SEC proposed additional rules intended to further enhance

investor protections in SPAC IPOs, as well as in subsequent business combinations between

SPACs and private operating companies, targeted at unscrupulous sponsors and management.

       50.     Silver Run/Alta Mesa is a case study of how these unscrupulous Defendants

conspired to utilize the potentially abusive structure of SPACs to engineer a great deal for

themselves at the expense of ordinary investors such as Alyeska.

       B.      The Merger of Silver Run with AMH and Kingfisher

       51.     The general terms summarized above applied to Silver Run’s IPO, which was

completed in March of 2017 and sponsored by Defendant Riverstone, a private equity firm focused

on the energy sector.

       52.     Silver Run sold 103.5 million shares of common units to investors at $10 a share

for gross proceeds of $1.035 billion. Under the terms of the IPO prospectus, Silver Run had

two years to identify and acquire a target business or target businesses having an aggregate fair

market value of at least 80% of the IPO proceeds held in trust. The IPO offering materials

stated that Silver Run planned to pursue an acquisition that would capitalize on Riverstone’s

expertise in the energy industry by leveraging its industry experience and insider knowledge to

acquire “fundamentally sound” assets that were underpriced and offered attractive investment

returns.

       53.     Silver Run’s management team targeted two oil-and-gas companies, an upstream

company, AMH, and a midstream company, Kingfisher. AMH focused on the development and



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acquisition of unconventional oil and natural gas reserves in Oklahoma’s STACK region, in the

eastern portion of Oklahoma’s Anadarko basin. Kingfisher focused on providing crude oil

gathering, gas gathering, and processing and marketing to producers of natural gas, natural gas

liquids, crude oil and condensate in the STACK.

       54.    The two companies, though nominally separate, were deeply intertwined. Not only

did Kingfisher have overlapping ownership with AMH, but AMH and Kingfisher were

operationally interconnected. In 2016, the year before Silver Run’s IPO, nearly 97% of

Kingfisher’s revenues were derived from wells operated by AMH.

       55.    Silver Run’s management viewed the synergistic relationship between AMH and

Kingfisher as an asset; they emphasized in a press release on SEC Form 8-K that they had chosen

to target AMH and Kingfisher in part because the two companies provided a perfect strategic

match for Silver Run’s desired integrated platform and an opportunity to create a pure-play

STACK upstream and midstream company that would be the first of its kind in the public markets.

See Silver Run Form 8-K dated August 16, 2017. Silver Run’s management further stated that

AMH’s “core acreage position . . . ha[d] among the lowest breakevens in the U.S. at around $25

per barrel” and that Kingfisher had acreage dedication contracts with “five . . . third party

customers” apart from AMH. See Silver Run Form 8-K dated August 16, 2017. In this context,

the term “breakeven” refers to the “breakeven price—the price of oil needed to profitably drill a

new well[.]” Michael D. Plante and Kunal Patel, Breakeven Oil Prices Underscore Shale’s Impact

on the Market, FEDERAL RESERVE BANK OF DALLAS: DALLAS FED ECONOMICS, May 21, 2019,

https://www.dallasfed.org/research/economics/2019/0521. Silver Run’s management saw big

things for Kingfisher: on account of Kingfisher’s “significant additional third party growth

potential[,]” Silver Run’s management intended to “spin off” Kingfisher in a potential future



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midstream IPO. See Silver Run Form 8-K dated August 16, 2017.

       56.     On August 16, 2017, Silver Run announced that it had entered into a preliminary

merger agreement with AMH and Kingfisher. The proposed transaction, valued at $3.8 billion,

was subject to approval by Silver Run’s shareholders. Critically, Silver Run shareholders who did

not want to retain a continuing interest in the business after the merger had the right to redeem

their shares at the time of the merger.

       57.     Silver Run issued a Definitive Merger Proxy Statement to its shareholders on

January 19, 2018 (“the Proxy”). In the Proxy, Silver Run’s board of directors recommended that

its shareholders approve the merger with AMH and Kingfisher. The Proxy stated that AMH and

Kingfisher were poised for accelerating growth immediately following the merger. Like the

August 16, 2017 8-K filing, the Proxy emphasized the “low break-even commodity prices” of

AMH’s acreage and further indicated that Kingfisher had “long-term acreage dedication contracts

from multiple active producers” and “firm takeaway contracts on key pipelines” and “was well-

positioned to benefit from increasing upstreamdevelopment activity in an active and prolific basin

with upside potential from further expansion projects.” The Proxy indicated that AMH had

achieved an estimated 2017 average net daily production of 20.8 thousand barrels of oil equivalent

per day (“MBOE/d”), and was expected to increase its 2018 average net daily production to 38.5

MBOE/d and its 2019 average net daily production to 68.9 MBOE/d. The Proxy also stated that

AMH had achieved 2017 adjusted EBITDAX . . . of $155 million, and was expected to increase

its 2018 adjusted EBITDAX to $358 million and its 2019 adjusted EBITDAX to $701 million.2

As for Kingfisher, the Proxy stated that Kingfisher was estimated to have achieved $42 million in



2
  EBITDAX is an acronym that stands for “earnings before interest, taxes, depreciation, depletion,
amortization, and exploration expenses.” EBITDA is an acronym that stands for“earnings before
interest, taxes, depreciation, and amortization.”
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2017 EBITDA, and was expected to increase its 2018 EBITDA to $185 million and its 2019

EBITDA to $318 million.

       58.     The Proxy represented to investors that the estimates and projections contained

therein were based on observable trends and capabilities, as well as economically justified

assumptions regarding the expected cash flows of AMH and Kingfisher. The Proxy also included

extensive statements regarding the quality of AMH’s internal controls over oil and gas reserve

estimates,” including that:


         AMH’s policies and practices regarding internal controls over the recording of
         reserves are structured to objectively and accurately estimate its oil and gas
         reserves quantities and present values in compliance with rules, regulations and
         guidance provided by the SEC, as well as established industry practices used by
         independent engineering firms and its peers and in accordance with the 2007
         Petroleum Resources Management System sponsored and approved by the
         Society of Petroleum Engineers, the World Petroleum Council, the American
         Association of Petroleum Geologists and the Society of Petroleum Evaluation
         Engineers
       59.     According to the Proxy, AMH’s internal control methodologies included reviews

of production trends, material balance calculations, analogy to comparable properties and/or

volumetric analysis.

       60.     Silver Run’s shareholders voted to approve the merger on February 6, 2018. The

merger with AMH and Kingfisher closed on February 9, 2018. At that point, the new combined,

publicly traded company became known as Alta Mesa, and AMH and Kingfisher became

subsidiaries of Alta Mesa. See Alta Mesa Form 10-K dated March 29, 2018.

       C.      Alta Mesa’s Post-Merger Financial Disclosures Immediately Fall Short

       61.     Less than two months after the merger closed, on March 29, 2018, Alta Mesa filed

its first 10-K with the SEC, issued an earnings release, and held an earnings call. The earnings

release dramatically reduced the EBITDA and production estimates provided in the Proxy.

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Nevertheless, Alta Mesa’s executives denied that the announcement indicated that AMH and

Kingfisher had been overvalued in the Proxy.

       62.        According to the March 29, 2018 release, “Kingfisher was expected to post only

$95 to $110 million in EBITDA at the midpoint of 2018, 46% below the 2018 EBITDA estimate

of $185 million provided in the January 19, 2018 Proxy.” In its SEC filings, Alta Mesa explained

the swift revision to Kingfisher’s earnings estimate by saying that, “[i]n late 2017 and early 2018,

drilling and completions by third party E&P operators under contract with Kingfisher slowed

considerably.” See Alta Mesa Form 8-K dated March 29, 2018.

       63.        Alta Mesa’s CEO, Defendant Chappelle, echoed this explanation in the earnings

call, telling investors and analysts that “multiple ‘large third-party producers’ had delayed drilling

on acreage served by Kingfisher, which pushed Alta Mesa’s timeline for growing its pipeline

business back by six months and a possible public offering of Kingfisher ‘perhaps’ into 2019.”

Incredibly, Chappelle admitted that these “setbacks” began in late 2017—i.e., prior to the Silver

Run shareholder vote on the merger with AMH and Kingfisher, and before the merger occurred.

       64.        The release also revised AMH’s production estimates downward, stating that

“AMH was expected to post an average net daily production of only 33 to 38 MBOE/d at the

midpoint for the year, 8% below the production figures provided in the Proxy.”

       65.        Despite these negative statements, Chappelle reassured investors and analysts on

the earnings call that “the problems were temporary” and that the revised estimates only

represented a “two-month shift in the calendar” for AMH and a “six-month shift in the calendar”

for Kingfisher.

       66.        Alta Mesa’s share price dropped after the March 29, 2018 announcements. After

closing at $8.38 per share on March 28, 2018, Alta Mesa’s stock closed at $8.00 per share on



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March 29, 2018 and then $7.06 per share on April 3, 2018.

        D.    Alta Mesa’s Second Quarter 2018 Results Also Fall Short

        67.   Alta Mesa’s second quarter 2018 results also failed to meet expectations, but its

executives continued to represent that the problems were temporary and that a turnaround was

imminent.

        68.   In its second-quarter 2018 financial disclosures, Alta Mesa further decreased

AMH’s average net daily production estimate to only 30.0 MBOE/d at the midpoint for 2018,

which was 22% below the estimates provided in the Proxy. See Alta Mesa Form 8-K dated August

14, 2018. Alta Mesa blamed the lowered production estimate to “offset well shut-ins for fracture

stimulation effectiveness.” See Alta Mesa Form 8-K dated August 14, 2018.

        69.   On an earnings call, Defendant Chappelle explained that the well shut-ins resulted

from work done or planned in the fourth quarter of 2017 that had lingered into the first quarter

of 2018. Alta Mesa’s second-quarter 2018 financial disclosures also revealed that Kingfisher,

which the Proxy had estimated would have 2018 EBITDA of $185 million, had only $6.1 million

in EBITDA for the quarter. See Alta Mesa Form 8-K dated August 14, 2018. Defendant Chappelle

blamed the dip in production on short term logistics and not any fundamental changes.

        70.   Alta Mesa’s share price plummeted over 21% on the second-quarter 2018

news, from $6.08 a share at close on August 13, 2018 to $4.77 a share at close on August 14,

2018.

        E.    Alta Mesa’s Third Quarter 2018 Results Are No Better Than Previous Results
              and Its CFO Resigns

        71.   In its third quarter of 2018 results announcement, Alta Mesa again decreased its

2018 EBITDA estimate for Kingfisher to $36 to $38 million. See Alta Mesa Form 8-K dated

November 13, 2018. Incredibly, Kingfisher’s projected 2018 EBITDA was now essentially 80%


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less than the Proxy projections from less than 10 months earlier.

        72.    On an earnings call about the third-quarter 2018 results, the Executive Chairman

of Alta Mesa’s Board of Directors, Defendant Hackett, blamed Alta Mesa’s lackluster performance

on “significant headwinds” and “technical challenges.”

        73.    On November 13, 2018, Alta Mesa’s CFO, Michael McCabe, announced he was

leaving the company..

        74.    Alta Mesa’s share price declined by nearly 15% between close on November 13,

2018 and close on November 14, 2018. The share price then dropped another 5% the next day.

Alta Mesa’s stock closed at $2.29 a share on November 15, 2018.

        F.     More Executives Resign, Alta Mesa Discloses Material Internal Control
               Weaknesses, Is Unable to File Its 2018 Annual Report, Takes a $3.1 Billion
               Write-Down, and Ultimately Goes Bankrupt

        75.    One month later, on December 26, 2018, two more Alta Mesa executives—

Chappelle and Defendant Ellis, Vice President and COO–Upstream—resigned.

        76.    On February 25, 2019, Alta Mesa disclosed in an SEC filing that it would not be

able to file its 2018 annual report on time and would be seeking an extension from the SEC. See

Alta Mesa Form 8-K dated February 25, 2019.

        77.    Alta Mesa also disclosed that it had “determined that it had an ineffective internal

control over financial reporting due to an identified material weakness in both the design of its

controls and the execution of its control procedures.” See Alta Mesa Form 8-K dated February 25,

2019.

        78.    Making matters worse, Alta Mesa explained that it take material write-downs in the

fourth quarter of 2018 to both AMH and Kingfisher. See Alta Mesa Form 8-K dated February 25,

2019. The impairment charges would be approximately $2.0 billion for AMH and approximately

$1.1 billion for Kingfisher. See Alta Mesa Form 8-K dated February 25, 2019.
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       79.     In all, the write-downs totaled $3.1 billion. This was less than a year after the

merger that valued Alta Mesa at $3.8 billion, thereby conceding that the AMH and Kingfisher

assets acquired in the merger were basically worthless.

       80.     Adding insult to injury, Alta Mesa also disclosed that it was laying off about a third

of its employees.

       81.     Alta Mesa’s share price cratered over 63% after the disclosures. After closing at

$0.91 a share on February 25, 2019, Alta Mesa’s stock closed at $0.34 a share on February 26,

2019. A week later, on March 4, 2019, Alta Mesa publicly confirmed in a formal Notification of

Late Filing that it was not going to timely file its annual report because it expected to report

material weakness in its internal control over financial reporting in the 2018 Form 10-K and needed

additional time to ensure accuracy of its 2018 financial information. See Alta Mesa Form NT 10-

K dated March 4, 2019. Alta Mesa also confirmed that it expected to report a 2018 net loss of

$3.1 billion because of the write-down that it had disclosed a week earlier. See Alta Mesa Form

NT 10-K dated March 4, 2019.

       82.     By this point, Alta Mesa’s stock had decline almost 97% from its IPO price of $10,

a mere year after the merger that the sponsors and others touted.

       83.     On March 22, 2019, another Alta Mesa executive, Crag Collins, resigned.

       84.     The delay in filing its annual report jeopardized Alta Mesa’s NASDAQ listing. In

April 2019, Alta Mesa received two notices from NASDAQ that the company was not in

compliance with NASDAQ listing rules because it did not timely file its 2018 annual report and

because its stock closed below $1.00 a share for thirty consecutive business days. See Alta Mesa

Form 8-K dated April 8, 2019.

       85.     Despite NASDAQ’s warning, Alta Mesa continued to fall further behind in its



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financial reporting obligations. On May 13, 2019, Alta Mesa filed another formal Notification of

Late Filing, this time relating to its quarterly report for the quarter ending on March 31, 2019. See

Alta Mesa Form NT 10-Q dated May 13, 2019.

       86.      Alta Mesa also warned in its formal Notification of Late Filing that there was

substantial doubt about its ability to continue as a going concern. See Alta Mesa Form NT 10-Q

dated May 13, 2019. Alta Mesa’s failure to file its quarterly report on time drew yet another

delisting warning from NASDAQ.

       87.      On May 17, 2019, Alta Mesa disclosed that although it supposedly had made

progress in finalizing its two delinquent reports, it still was unable to provide an estimated date for

when those reports would actually be filed. See Alta Mesa Form 8-K dated May 17, 2019.

       88.      AMH, the upstream subsidiary, did file its 2018 annual report on May 17, 2019. In

that report, AMH revealed that the SEC was investigating Alta Mesa about, among other things,

the material weakness in its internal controls over financial reporting and the $3.1 billion write-

down. See AMH Form 10-K dated May 17, 2019. AMH accounted for $2 billion of that write-

down. See AMH Form 10-K dated May 17, 2019. AMH’s 2018 annual report also disclosed that

AMH was considering filing for Chapter 11 bankruptcy protection. See AMH Form 10-K dated

May 17, 2019.

       89.      AMH’s troubles led Alta Mesa to disclose a downward revision in a previously

released estimate of its proved reserves and caused a further 25% drop in Alta Mesa’s stock price,

from $0.176 a share on Friday, May 17, 2019 to $0.131 a share on Monday, May 20, 2019. See

Alta Mesa Form 8-K dated May 17, 2019.

       90.      On July 2, 2019, another Alta Mesa executive, Defendant Ronald Smith, Vice

President and Chief Accounting Officer, resigned.



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       91.     On August 9, 2019, Alta Mesa filed yet another formal Notification of Late Filing,

this time about its quarterly report for the quarter ending on June 30, 2019. See Alta Mesa Form

NT 10-Q dated August 9, 2019. Alta Mesa explained that it could not file the quarterly report

because it was finalizing its year-end financial statements and also expected to report a material

weakness in its internal controls over financial reporting. See Alta Mesa Form NT 10-Q dated

August 9, 2019. That expectation was confirmed in Alta Mesa’s 2018 annual report, which was

filed two weeks later, on August 26, 2019.

       92.     Alta Mesa’s 2018 annual report contained a report from the Company’s

independent accounting firm concluding that Alta Mesa “ha[d] not maintained effective internal

control over financial reporting as of December 31, 2018[.]” See Alta Mesa Form 10-K dated

August 26, 2019. The report identified sixteen “material weaknesses” in Alta Mesa’s internal

control over financial reporting, including “[i]neffective controls over the identification and

processing of relevant and reliable information”; “[i]neffective controls over the financial

statement close and disclosure process, including the completeness, existence and accuracy of

the financial information”; and “[i]neffective management reviewcontrols over various complex

accounting estimates.” See Alta Mesa Form 10-K dated August 26, 2019. “A material weakness

is a deficiency, or a combination of deficiencies, in internal control over financial reporting, such

that there is a reasonable possibility that a material misstatement of the company’s annual or

interim financial statements will not be prevented or detected on a timely basis.” See Alta Mesa

Form 10-K dated August 26, 2019.

       93.     Alta Mesa’s 2018 annual report also echoed AMH’s 2018 annual report in

disclosing that “[t]he SEC is conducting a formal investigation into, among other things, the facts

involved in the material weakness in our internal controls over financial reporting and the



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impairment charge disclosed elsewhere in our financial statements.” See Alta Mesa Form 10-K

dated August 26, 2019.

       94.     Two weeks after Alta Mesa filed its 2018 10-K, its interim CEO, Defendant

Hackett, resigned.

       95.     Alta Mesa and several related entities filed for Chapter 11 bankruptcy protection

on September 11, 2019.

       96.     Alta Mesa’s securities have been delisted from the NASDAQ and are now traded

over the counter.

       97.     During the Bankruptcy Proceeding, Alta Mesa’s upstream and midstream assets

sold for, at most, $240 million—about 6% of Alta Mesa’s claimed post-merger value of $3.8

billion. (No. 19-cv-957, ECF No. 160 at 15 n.9.)

       G.      Alta Mesa’s Collapse Resulted From Defendants’ Intentional Misconduct

       98.     Alta Mesa experienced a massive drop in value during its brief time as a listed

company, writing down over 80% of its market value after its first year in existence and selling

assets in bankruptcy for (at most) $240 million that had been valued at $3.8 billion when Silver

Run merged with AMH and Kingfisher less than two years before. Alta Mesa also acknowledged

serious, systemic deficiencies in its financial reporting that created “a reasonable possibility that

a material misstatement of the company’s annual or interim financial statements” would not have

been “prevented or detected on a timely basis.” Among other things, those reporting deficiencies

triggered an SEC investigation.

       99.     The steady stream of Alta Mesa’s bad financial results after the merger between

Silver Run, AMH, and Kingfisher, and Alta Mesa’s ultimate collapse into bankruptcy, resulted

from an intentional overstatement of the value of AMH and Kingfisher that began well before the



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merger. At bottom, Defendants knew that the assets of AMH and Kingfisher should not have been

valued as highly as they were at the time of the merger between Silver Run, AMH, and Kingfisher.

Rather, Defendants intentionally overstated the value of AMH and Kingfisher before the merger

in order to ensure that Silver Run’s shareholders approved the merger. Defendants continued to

deceive investors after the merger, including to inflate Kingfisher’s value in order to position it to

be spun-off in an IPO as a separate midstream company.

               1.      Before the Merger, Defendants Systematically Looted AMH for the
                       Benefit of Kingfisher.

       100.    Even before the merger between Silver Run, AMH, and Kingfisher, certain of the

Defendants were already manipulating the corporate structure of AMH for their own self-interest.

       101.    In 2014, AMH decided to increase its investment in the STACK. At that time,

AMH utilized independent companies for its midstream needs, such as gathering, trucking and

marketing.

       102.    ARM, HPS and Chappelle undertook to create a new company to serve as AMH’s

midstream gatherer in the STACK.           This company—Kingfisher Midstream, LLC—would

construct a gathering pipeline, gas processing plant, and crude oil transportation system. AMH

would be the “anchor” producer for Kingfisher.

       103.    Kingfisher was funded through investments by ARM, HMI, and HPS. Chappelle

and Ellis owned a large stake in Kingfisher.

       104.    Early presentations of the Kingfisher transaction detailed that the fees AMH would

pay Kingfisher were substantially higher than the fees that AMH was paying its then existing

midstream gatherer.     AMH failed to pursue competitive offers from gatherers other than

Kingfisher, and actively rejected offers from other midstream gatherers, including those offering

lower rates than Kingfisher.


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       105.     On August 31, 2015, AMH and Kingfisher entered into the 2015 Gas Gathering

and Processing Agreement and Crude Oil Gathering Agreement (together, the “2015 Gathering

Agreements”).     Incredibly, Chappelle signed the agreements on behalf of both AMH and

Kingfisher.

       106.     The 2015 Gathering Agreements favored Kingfisher and were unfair to AMH. The

rates and fees that AMH had to pay Kingfisher under the 2015 Gathering Agreements were

substantially above then-market rates.

       107.     AMH’s managers openly questioned the exorbitant fees that AMH had to pay

Kingfisher under the 2015 Gathering Agreements. Notably, Kingfisher was charging other

customers substantially less than it was charging AMH—despite that AMH provided the

overwhelming majority of Kingfisher’s business.

       108.     Making matters worse, on December 1, 2016, AMH and Kingfisher executed

amended agreements that were designed to attempt to insulate the agreements from challenge

should AMH ever declare bankruptcy.

       109.     The amended agreements also required Kingfisher to construct a system to gather

up to 50,000 barrels per day from AMH.

       110.     But Kingfisher never constructed this system. Despite this, Kingfisher charged

AMH for every barrel of oil that AMH paid another party to transport. This meant that Kingfisher

was paid for doing nothing, and AMH was paying twice to move the same barrel.

       111.     In effect, the value of AMH’s production assets were being diverted to Kingfisher

and Kingfisher’s owners, including HPS and ARM.

       112.     Between June 2016 and October 2019, AMH paid Kingfisher over $120 million of

above-market fees, as well as millions of more dollars for transporting oil that Kingfisher never



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transported.

          113.   Prior to the Merger, Defendants attempted to push EBITDA to Kingfisher to

increase the overall valuation of the proposed combined entity. Increasing EBITDA at Kingfisher

was important to the overall value of the Merger because midstream companies are valued at

higher multiples than upstream companies. For example, an internal AMH email from Vice

President of Corporate Development Tim Turner to, among others, Defendant Chappelle, dated

November 29, 2017 stated: “Whether its stage spacing gallons per food or my all-time favorite

pounds per food, companies get valued higher if they’re pumping more. It doesn’t matter if it’s

economic waste!” Another internal email from Alta Mesa’s CFO McCabe to Defendant Chappelle

in August 2018 confirmed this notion, stating Alta Mesa’s “desire was to get EBITDA into KFM

since it all rolls up to AMR.”

                 2.     Before the Merger, Defendants Knew That the Production Projections
                        Made by AMH and Alta Mesa Were Not Achievable.

          114.   Determining the optimal number of wells to drill is a crucial part of developing an

oil field. There is a finite amount of recoverable gas and oil in any given reservoir. Generally,

drilling more wells will produce oil and gas faster. But each well is expensive to drill, and drilling

numerous wells close together can decrease each well’s productivity. Thus, a drilling company

must determine the optimal number of wells to drill per drill spacing unit (“section”) to maximize

return.

          115.   In drilling a particular section, a certain minimum number of wells must be drilled

to extract recoverable oil and gas from that section. Drilling more wells in that section will likely

increase total near-term production from the section, but will also decrease the average estimated

ultimate recovery (“EUR”) per well in that section. This is because close spacing between wells

will cause some of the wells to draw oil and gas from the same finite source. This interference


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lowers the average production volume per well.

        116.    The number of wells drilled per section and their respective average EUR directly

affects the economic return from a given reservoir. The net present value of the reservoir may be

increased by drilling more wells, because more wells will shorten the production life of the

reservoir means that revenue is earned sooner. But each additional well costs money to drill and

complete, which must also be factored into the net-present-value analysis.

        117.    Before the Merger, most of Alta Mesa’s wells were single wells, i.e., one well per

section.

        118.    In 2014, Alta Mesa began multi-well test patterns. These test wells were of two

types: child patterns and sibling patterns. A child pattern consists of one existing producing well

(the parent), and several smaller child wells drilled later in time but in close proximity to the parent.

A sibling pattern consists of multiple new parent wells drilled at the same time.

        119.    Between 2014 and early 2017, Alta Mesa completed seven initial multi-well test

patterns. Six of those test patterns started producing oil by the summer of 2017, and the final

pattern started producing oil from three of its four wells in September 2017.

        120.    As of December 2017, only two test patterns had an average EUR per well of

around 250 MBO, and both of those were sibling patterns. These two test patterns also only had

three wells, which created less potential for inter-well interference. Thus, the results of these two

patterns could not be reliably extrapolated to drilling patterns with more wells per section. The

average EUR of the remaining sibling patterns was well below 250 MBO. The average MBO of

the two child patterns was far below 250 MBO: one had an EUR of 78 MBO and the other had an

EUR of 64 MBO. And the average EUR for the child wells in those patterns was even lower.

        121.    By August 2017, Chappelle, Ellis, and Turner knew that none of the child wells in



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the test patterns had anywhere close to an EUR of 250 MBO.

       122.    Chapelle and Ellis knew as early as June 2017 that there was a difference in

production between those patterns that had three wells versus those patterns with six or more wells

in a section. Turner told Chappelle in June 2017 that there “could be an argument” that the two

test patterns with an EUR of around 250 MBO achieved those results because they only had three

wells per section. Chappelle agreed with this assessment. Chappelle also told Ellis in June 2017

that a test pattern that would be drilled later in 2017 would be a “very important test” because it

would be an eight-well child pattern, as opposed to a three-well sibling pattern, like the patterns

that had EUR of around 250 MBO.

       123.    Chappelle, Ellis, and Turner also knew that drilling more wells in a section could

cause well interference, lowering the production from certain wells in that section. These concerns

arose in November 2017 in connection with one of the test patterns that had an EUR of only about

150 MBO.

       124.    On November 1, 2017, Gene Cole, Alta Mesa’s Vice President and Chief

Technology Officer, emailed Ellis, Turner, and others: “So the west half of the huntsmen has 4

wells for 585mbo.” Turner responded the next day with a spreadsheet showing that one of the

wells in the Huntsman pattern had an EUR of only 60 MBO and another well had an EUR of only

40 MBO.

       125.    Cole emailed that “We know part of the reason the upper landings are producing

more oil in the [H]untsman is because they are taking oil from the Osage.” Turner replied on

November 3, 2017 that “[i]t seems there is also some connectivity between the Osage and Meramec

that is natural and/or hydraulically induced.” The Osage and the Meramec are two reservoir

formations that are stacked on top of each other.



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       126.    Later in November, Chappelle, Turner, and Kevin Bourque, Alta Mesa’s VP of

Drilling and Administration, had another email exchange where Ellis and Turner discussed the

possibility that drilling in the Osage or Meramec formations could reduce the recoverability of oil

in the other formation.

       127.    The 2018 drilling program was based on the premise that Alta Mesa had more than

4,000 gross drilling locations, could drill up to 12 wells per section, and could recover 250 MBO

from each well in the section. Thus, Alta Mesa assumed that even multi-well patterns of six or

more wells per section would produce oil, on average, in line with a well with an EUR of 250

MBO. This linear extrapolation of a per-well EUR for sections with up to 12 wells was

unsupported by any data.

       128.    In 2018, Alta Mesa planned to drill approximately 200 wells, almost double the

amount of wells it drilled in 2017. More than 75% of these wells would be part of multi-well

patterns. And the majority of the new wells would be child wells. By comparison, Alta Mesa

drilled zero child wells in 2016 and 30 child wells in 2017 (22 of which started producing in the

fourth quarter of 2017).

       129.    Alta Mesa also planned to increase the number of drilling rigs, the operation of

which is one of the primary costs associated with drilling wells. Alta Mesa planned to steadily

increase the number of rigs to ten by the end of 2018, resulting in an average of eight rigs in

operation throughout the year. By contrast, in 2017, Alta Mesa deployed four to six drilling rigs.

       130.    Chappelle, Ellis, and Hackett knew that the 2018 drilling program was not based

on reasonable assumptions. To begin, they knew that there were industry reports in mid-2017 of

“less than anticipated type curves for the child wells.” Moreover, Chappelle, Ellis, and Hackett

knew that Alta Mesa’s previously completed child patterns had performed poorly and that more



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testing would be “very important” to determine the viability of the 2018 drilling plan. Hackett

testified during Alta Mesa’s bankruptcy that the results from the prior well patterns “were

indeterminate because we hadn’t actually felt that we had executed on those properly.” All told,

Alta Mesa had no results from well patterns evidencing that child patterns with four to ten wells

per section would achieve production consistent with an EUR of 250 MBO.

       131.    On February 12, 2018, Alta Mesa’s Board met to approve its 2018 drilling program.

There is no evidence that the Board considered whether the results from the well pattern tests

supported the proposed drilling program. Had the Board reviewed the assumptions underlying the

drilling program, it would have been obvious that the data did not support the program.

Nonetheless, the Board approved the 2018 drilling program.

       132.    In March 2018, Turner and Defendant Chappelle reviewed documents showing that

cumulative oil production from patterns completed in late 2017 and early 2018 were falling below

production expectations within 40 to 70 days of first oil.

       133.    On March 22, 2018, Defendant Chappelle circulated to Defendant Ellis and others

a report titled, “STACK Meramec Spacing: Co-Completed Wells Shine, Child Wells Decline.”

One of the key points that the report noted was that “tighter spacing increases the deterioration in

the rates of child wells compared to the average parent well for a given operator, region and

vintage.” Of course, Defendants Chappelle and Ellis had already known this as early as mid-2017.

       134.    On April 7, 2018, Defendant Chappelle emailed Turner and Bourque to discuss

child wells. Bourque responded: “My first thought: I think most of our offset operators are going

to be saying that they’re seeing 70-90% of the parents when drilling infills [child wells] from the

informal conversations I’ve had. I don’t believe most expect our infill to be 100% of the original

single wells in a section,” adding that “Mike [Ellis] called it 80% or 200mbo.”



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       135.    Thus, by April 2018, Defendants Chappelle and Ellis agreed that Alta Mesa’s child

wells would have at least a 20% lower EUR than their parent wells. But the 2018 drilling program

was predicated on the assumption that each well would have an average EUR of 250 MBO. By

recognizing that the actual EUR of child wells would be around 200 MBO, it was assured that the

2018 drilling program would fail.

       136.    Moreover, Turner admitted in an early April 2018 email to Defendant Chappelle

that the initial pattern tests did not provide a basis to assume that child wells would meet the

production estimates. Defendant Chappelle asked, “How do we reconcile that with the correlation

we consistently showed with >TC [250 MBO] @ 1500’ [spacing?]” Turner replied: “Patterns are

still early. The correlation we showed was spacing test,” i.e., the initial pattern tests.

       137.    On April 16, 2018, Turner emailed Defendant Ellis and others an Excel spreadsheet

entitled “Pattern Analysis,” and wrote, “Some info to ponder on . . . sorted on number of wells

drilled.” Even after revisions, the results still showed that Alta Mesa was expecting an average

EUR per well in its patterns of only 183 MBO.

       138.    The spreadsheet showed that most of Alta Mesa’s STACK drilling patterns had an

EUR below 200 MBO. The outlier patterns with an EUR above 200 MBO either had four or fewer

wells per section, were sibling patterns with only three wells per section, or had just started

producing on April 1, 2018, meaning that insufficient data existed to determine a reliable pattern

EUR.

       139.    A day later, on April 17, 2018, an Alta Mesa reservoir engineer emailed Defendant

Ellis: “Sooner or later, the number of infill/child wells will surpass the number of parent wells

due to drilling inventory. However, we have seen (some) poor performance in infill wells, which

is likely due to the depletion effects of the existing parent well and inter-/intra-well production



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competition with both parent and other infill wells.”

       140.    On July 5, 2018, Turner emailed Defendant Chappelle stating that “[W]e are facing

the cold reality that the child well mean is in the 105-160 mbo range depending on how you slice

the data,” and observing that “[c]learly, we’ve had trouble hitting production targets and this seems

to be a combination of shut-ins, filling wells, and lower IP’s [initial productions] on child wells.”

       141.    On July 27, 2018, Turner sent another email to Defendant Chappelle on

“Child/Sibling EUR’s,” stating that the “distribution was ~177 MBO,” and asking whether

Defendant Chappelle nonetheless wanted to assume a “200 MBO or 225 MBO case.” Defendant

Chappelle responded that he wanted to go with a 225 MBO case for child and sibling wells.

       142.    On July 31, 2018, Turner circulated a “Type Well Process and Review”

presentation to Defendant Ellis, Bourque, and others. That presentation showed that child and

sibling wells were producing at an average of 150 to 180 MBO per well, far below the 250 MBO

EUR estimate on which Alta Mesa’s drilling plan was based.

       143.    In addition, Defendants also manipulated the reserve and financial projections of

AMH and Alta Mesa by using drilling techniques that fell outside the industry standard.

Defendants used these unconventional and unsustainable drilling methods, without disclosure to

the investing public, including Alyeska, in order to inflate short-term profits (at the expense of

long-term drilling prospects) thereby inducing Silver Run investors to vote in favor of the merger

with AMH and Kingfisher.

       144.    The Class Action Complaint includes the accounts of two former AMH production

engineers, who allege that AMH departed from industry standards by: (i) drilling more wells per

well pad than was optimal for AMH’s acreage; (ii) drilling its wells too close together, which

required the use of S-shaped rather than L-shaped wells; and (iii) using electronic pumps (“ESPs”)



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that temporarily increased wells’ production rates but shortened the wells’ lifespans. These former

AMH production engineers further allege that these departures from industry standards, which

were not disclosed to the investing public, including Alyeska, were not based on engineering

analysis, but were instead imposed by Defendants in an effort to artificially inflate AMH’s oil

reserves and to temporarily inflate short-term production in a manner that Defendants knew would

undermine the long-term viability of AMH’s wells. As one engineer put it, management was

“desperate to make numbers.”

        145.   Instead of disclosing that AMH’s reserve and financial projections were based on

departures from industry standards, the Proxy stated that AMH’s estimates followed SEC

regulations and established industry practices. See Alta Mesa Form DEFM14A dated January 19,

2018.

        146.   These practices continued after Silver Run merged with AMH and Kingfisher and

became Alta Mesa. As previously noted, Alta Mesa’s first financial disclosures, filed in March of

2018, “dramatically reduced” the Proxy’s EBITDA and production estimates.             Rather than

disclosing the fact that Alta Mesa was never able to meet earlier projects, for the reasons alleged

above, Defendant Chappelle, then Alta Mesa’s CEO, reassured analysts and investors on an

earnings call that “the problems were temporary” and that the revised estimates only represented

a “two-month shift in the calendar” for AMH and a “six-month shift in the calendar” for

Kingfisher.    To continue to hide its fraud and further deceive the investing public, including

Alyeska, Alta Mesa sustained its undisclosed practices that inflated short-term production at the

cost of the long-term viability of its operations.

        147.   In particular, in an attempt to work around the basic fact—known to Defendants

since prior to the Merger—that the 250 MBO average production estimate was unachievable, Alta



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Mesa tried to rely on expensive ESPs—electrical submersible pumps—to increase performance

from poorly performing wells. ESPs are a mechanical artificial-lift method used to increase the

flow of liquids to the well surface, but they do not guarantee an increase in oil production. ESPs

are expensive, prone to breakdown, and not suitable for the drilling environment of the STACK.

Although ESPs are used in other drilling fields, such as the Gulf Coast, the STACK has a higher

than normal sand content, which increases clogging, necessitating costly repairs. All told, each

ESP could cost up to $800,000, factoring in repair costs.

       148.    Prior to 2018, Alta Mesa had little experience with ESPs. In August 2017, Alta

Mesa installed ESPs on two wells that seemed like good candidates for the technology. As

Bourque explained to Defendant Hackett in February 2018, “We use ESPs selectively, but only

after we understand the character of the well in terms of productivity—the unusual wells that have

high water cut and high fluid rates over an extended period.” He added: “I’m not sure I’d see the

value in using ESPs early with all the associated costs, given our consistent performance with gas

lift. My preference is to pay for the lift system once instead of twice.”

       149.    The Class Action Complaint includes allegations from a former Alta Mesa

production engineer that after poor drilling results in early 2018, Defendant Chappelle ordered his

team to immediately identify 25 wells that were candidates for deploying additional electronic

pumps, despite the engineer’s repeated warnings that the electronic pumps were not an economical

or effective solution for Alta Mesa’s wells. Indeed, although such pumps are utilized in other oil

drilling fields, such as on the Gulf Coast, the pumps were not appropriate for the STACK

formations in which Alta Mesa was drilling. By the end of 2018, over 80 ESPs were installed.

       150.    Unsurprisingly, although ESPs did modestly increase well production when first

installed, production soon dropped off, cancelling out any early boost. And issues with sand



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clogging the pumps emerged almost immediately, forcing frequent shut-ins and requiring costly

repairs. Thus, the use of ESPs materially increased Alta Mesa’s capital expenditures, and failed

to improve overall well production.

       151.    Alta Mesa never disclosed its aberrant drilling practices or the effects of those

practices on Alta Mesa’s long-term production prospects, because Defendants were focused on

trying to prop up Alta Mesa’s stock price in order to salvage their plans to spin off Kingfisher as

an independent midstream company through an IPO of its own. Kingfisher’s profitability was

inextricably tied to AMH’s production, because Kingfisher             had    few   prospects    for

diversification. Indeed, even before the merger, beginning in 2017 Kingfisher knew that multiple

large third-party producers had delayed drilling on acreage served by Kingfisher because those

operators also realized theSTACK play was not as lucrative as anticipated.

V.     DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
       AND OMISSIONS

       A.      Materially False and Misleading Statements About AMH/Alta Mesa Oil
               Production and Drilling Methods

       152.    On August 16, 2017, after market close, Alta Mesa issued a press release, filed with

the SEC on Form 8-K (the “August 16, 2017 8-K”), announcing that it had entered into an

agreement to merge with AMH and Kingfisher. In the August 16, 2017 8-K, Defendant Hackett

stated: “We formed Alta Mesa with the objective of acquiring low-breakeven, stacked-pay, oil-

weighted assets, preferably with an integrated related midstream platform.” Defendant Chappelle

stated: “We see this as a tremendous way to continue our evolution as a low-cost, high-value

producer in the STACK.” The press release further stated that “[b]ased upon production through

the second quarter of 2017, Alta Mesa expects EURs at year end to exceed 650 MBOE per well or

approximately 140 BOE per foot of lateral.”

       153.    The foregoing statements were materially false and misleading when made, for
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among other reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells

had improperly drilled vertical bores that would dramatically increase the cost of oil extraction

while at the same time eliminating about a third of the well’s revenue generating capabilities over

the course of its life; and (ii) the 650 MBOE per well guidance was not capable of being achieved,

including because of erroneous assumptions for optimal well-spacing and number of wells per pad,

as well as the limitations imposed by the improperly drilled bores.

       154.    On an August 17, 2017 conference call (the “August 17, 2017 Conference Call”),

Defendant Hackett stated that the AMH and Kingfisher merger satisfied the “investment criteria”

presented on a slide deck distributed in connection with the call. That slide referred to “[h]igh

margin core basin with low field break-even events [with] deep inventory.”

       155.    The foregoing statement was false and misleading when made because, among

other reasons, it did not disclose that nearly all of Alta Mesa’s STACK wells had improperly drilled

vertical bores that would dramatically increase the cost of oil extraction while at the same time

eliminating about a third of the well’s revenue generating capabilities over the course of its life.

       156.    During the August 17 Conference Call, Defendant Chappelle stated that “We have

over 200 wells that we’ve drilled [in the STACK] and we’ve demonstrated the value and we have

confidence in the upside. As an illustration of that, at the end of the second quarter, we had drilled

on the order of 200 wells. Of those, over 160 were on production, and of that number, about 114

had sufficient production history to give us confidence that at the end of this year, our year-end

reserves will reflect better than 650,000 BOE.”

       157.    The foregoing statement was false and misleading when made because, among

other reasons, it did not disclose that (i) nearly all of Alta Mesa’s STACK wells had improperly

drilled vertical bores that would dramatically increase the cost of oil extraction while at the same



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time eliminating about a third of the well’s revenue generating capabilities over the course of its

life; and (ii) the 650,000 BOE guidance was not capable of being achieved, including because of

erroneous assumptions for optimal well-spacing and number of wells per pad, as well as the

limitations imposed by the improperly drilled bores.

         158.   On January 19, 2018, Silver Run Acquisition Corporation II (which would become

Alta Mesa), filed with the SEC the definitive proxy statement relating to its merger with AMH and

Kingfisher. The Proxy contained numerous materially false and misleading statements.

         159.   The Proxy stated that “Alta Mesa’s operations involve the use of the latest

horizontal drilling, completion and production technologies, as developed by Alta Mesa and its

service providers, in an effort to improve efficiencies in recovery of hydrocarbons. Use of these

new technologies may not prove successful and could result in significant cost overruns or delays

or reduction in production, and in extreme cases, the abandonment of a well.” The Proxy further

stated that “certain of the new techniques Alta Mesa is adopting may cause irregularities or

interruptions in production due to offset wells being shut in and the time required to drill and

complete multiple wells before any such wells begin producing.”

         160.   The foregoing statements were false and misleading when made, for among other

reasons, because they did not disclose that nearly all of Alta Mesa’s STACK wells had improperly

drilled vertical bores that would dramatically increase the cost of oil extraction while at the same

time eliminating about a third of the well’s revenue generating capabilities over the course of its

life.

         161.   The Proxy also stated that “[o]f the 220 [STACK] wells drilled, over 183 were on

production, and of that number, about 116 had sufficient production history to give Alta Mesa’s

management confidence that Alta Mesa’s type well EUR is greater than 650 MBOE.”



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           162.   The foregoing statement was false or misleading when made, for among other

reasons, it did not disclose that (i) nearly all of Alta Mesa’s STACK wells had improperly drilled

vertical bores that would dramatically increase the cost of oil extraction while at the same time

eliminating about a third of the well’s revenue generating capabilities over the course of its life;

and (ii) the 650,000 BOE guidance was not capable of being achieved, including because of

erroneous assumptions for optimal well-spacing and number of wells per pad, as well as the

limitations imposed by the improperly drilled bores.

           163.   The Proxy further stated that AMH’s estimated average net daily production for

2018 was 38,510 barrels and that its estimated average net daily production for 2019 was 68,900

barrels.

           164.   The foregoing statement was false or misleading when made, for among other

reasons, it did not disclose that (i) nearly all of Alta Mesa’s STACK wells had improperly drilled

vertical bores that would dramatically increase the cost of oil extraction while at the same time

eliminating about a third of the well’s revenue generating capabilities over the course of its life;

and (ii) the estimated average net daily production was not capable of being achieved, including

because of erroneous assumptions for optimal well-spacing and number of wells per pad, as well

as the limitations imposed by the improperly drilled bores.

           165.   The Proxy also stated that:

                  AMH’s policies and practices regarding internal controls over the
                  recording of reserves are structured to objectively and accurately
                  estimate its oil and gas reserves quantities and present values in
                  compliance with rules, regulations and guidance provided by the
                  SEC, as well as established industry practices used by independent
                  engineering firms and its peers and in accordance with the 2007
                  Petroleum Resources Management System sponsored and approved
                  by the Society of Petroleum Engineers, the World Petroleum
                  Council, the American Association of Petroleum Geologists and the
                  Society of Petroleum Evaluation Engineers.

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       166.    The foregoing statement was false or misleading when made, for among other

reasons, because it did not disclose that Alta Mesa was not objectively and accurately measuring

its oil and gas reserves in compliance with SEC guidance and industry practice, including because

(i) nearly all of Alta Mesa’s STACK wells had improperly drilled vertical bores that would

dramatically increase the cost of oil extraction while at the same time eliminating about a third of

the well’s revenue generating capabilities over the course of its life; and (ii) Alta Mesa’s

production estimates were not capable of being achieved, including because of erroneous

assumptions for optimal well-spacing and number of wells per pad, as well as the limitations

imposed by the improperly drilled bores.

       167.    On February 21, 2018, Defendant Chappelle presented at the Enercom Dallas

conference about Alta Mesa’s STACK drilling.          The slide deck for that presentation (the

“February 21, 2018 Presentation”) stated that Alta Mesa’s STACK “Multi-well development

projects initiated in 2017; previous pattern tests validate approach,” that “[c]onsistency and

geographic breadth of well results underscores repeatable development,” and that “[s]pacing test

pilots establish basis for development approach.”

       168.    The foregoing statements were false or misleading when made, for among other

reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells had

improperly drilled vertical bores that would dramatically increase the cost of oil extraction while

at the same time eliminating about a third of the well’s revenue generating capabilities over the

course of its life; and (ii) “repeatable development” and the “development approach” were not

capable of being achieved, including because of erroneous assumptions for optimal well-spacing

and number of wells per pad, as well as the limitations imposed by the improperly drilled bores.

       169.    On March 29, 2018, Alta Mesa issued a press release in which Defendant Chappelle



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stated that Alta Mesa had “de-risked [its] acreage with . . . a comprehensive scientific and

engineering effort to begin systematic development with multi-well patterns” and that its “type

curve has been approximately 650 MBOE per well.”

       170.    The foregoing statements were false or misleading when made, for among other

reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells had

improperly drilled vertical bores that would dramatically increase the cost of oil extraction while

at the same time eliminating about a third of the well’s revenue generating capabilities over the

course of its life; and (ii) the 650 MBOE per well production rate was not capable of being

achieved, including because of erroneous assumptions for optimal well-spacing and number of

wells per pad, as well as the limitations imposed by the improperly drilled bores.

       171.    On March 29, 2018, Alta Mesa also released a slide presentation, which Defendant

Chappelle presented during a conference call with investors and analysts, entitled “Q4 2017

Earnings / 2018 Operational Update and Guidance.” The presentation contained, under headings

entitled “STACK Pure Play” and “Sustainable, Advantaged Cost Structure,” the following bullet-

pointed statements: “Investment de-risked by 250+ horizontal wells with resilient, repeatable well

economics,” “Consistency and geographic breadth of well results underscores repeatable

development,” “Multi-well development projects initiated in 2017,” “Drilling, geoscience,

completions and production teams delivering low cost, highly productive wells at > 2 wells per

rig-month,” and “Capital and operating cost structure minimized with multi-well pattern

development . . . .”

       172.    The foregoing statements were false or misleading when made, for among other

reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells had

improperly drilled vertical bores that would dramatically increase the cost of oil extraction while



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at the same time eliminating about a third of the well’s revenue generating capabilities over the

course of its life; and (ii) “resilient, repeatable well economics,” “repeatable development” of

wells, and “highly productive wells” were not capable of being achieved, including because of

erroneous assumptions for optimal well-spacing and number of wells per pad, as well as the

limitations imposed by the improperly drilled bores.

       173.    On the March 29, 2018 conference call, Defendant Chappelle stated that “Alta

Mesa has now drilled over 300 wells in a concentrated asset base of scale and we have strong

confidence in the long-term economic productivity from the rock. Because of this confidence, we

have now transitioned from delineation to multi-well pad development in Kingfisher County.”

Defendant Chappelle also stated that “Our production growth was accomplished through

consistent operational execution, shorter completion cycle times, improving efficiencies and

continued solid performance from new wells. The planning and now execution of our now multi-

well pad drilling and completions has yielded significant operational efficiencies . . . .”

       174.    The foregoing statements were false or misleading when made, for among other

reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells had

improperly drilled vertical bores that would dramatically increase the cost of oil extraction while

at the same time eliminating about a third of the well’s revenue generating capabilities over the

course of its life; and (ii) “long-term economic productivity” and “significant operational

efficiencies” from the wells were not capable of being achieved, including because of erroneous

assumptions for optimal well-spacing and number of wells per pad, as well as the limitations

imposed by the improperly drilled bores.

       175.    Alta Mesa’s Form 10-K filed with the SEC on March 29, 2018 (the “2017 Form

10-K”) stated that “Our operations involve the use of the latest horizontal drilling, completion and



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production technologies, as developed by us and our service providers, in an effort to improve

efficiencies in recovery of hydrocarbons. Use of these new technologies may not prove successful

and could result in significant cost overruns or delays or reduction in production, and in extreme

cases, the abandonment of a well.” The 2017 Form 10-K also stated that “certain of the new

techniques we are adopting may cause irregularities or interruptions in production due to offset

wells being shut in and the time required to drill and complete multiple wells before any such wells

begin producing.”

         176.   The foregoing statements were false and misleading when made, for among other

reasons, because they did not disclose that nearly all of Alta Mesa’s STACK wells had improperly

drilled vertical bores that would dramatically increase the cost of oil extraction while at the same

time eliminating about a third of the well’s revenue generating capabilities over the course of its

life.

         177.   The 2017 Form 10-K also included a Risk Factor that Alta Mesa’s business

“involves the use of the latest available horizontal drilling, completion and production technology,

which involve risks and uncertainties in their application” and that its business “depend[s] on

successful exploration, exploitation, development and acquisitions to maintain reserves and

revenue in the future.”

         178.   The foregoing statements were false and misleading when made, for among other

reasons, because they did not disclose that Alta Mesa’s drilling techniques were not the latest

available horizontal drilling technology, but were instead work-arounds designed to increase short-

term production while jeopardizing future reserves and revenues.

         179.   On May 14, 2018, Alta Mesa released a slide presentation, which Defendant

Chappelle presented during a conference call with investors and analysts, entitled “First Quarter



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2018 Operational Update.”        The slide presentation included the statements “Multi-well

development pattern results across field are favorable,” “Applied learning from pattern tests – 80%

of 2018 plan on multi-well pads,” “Development program designed to maximize value by

optimizing production . . . .” and included a slide entitled “Production Optimization” that included

the use of ESPs for “production acceleration.”

       180.    The foregoing statements were false or misleading when made, for among other

reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells had

improperly drilled vertical bores that would dramatically increase the cost of oil extraction while

at the same time eliminating about a third of the well’s revenue generating capabilities over the

course of its life; and (ii) “resilient, repeatable well economics,” “repeatable development” of

wells, and “highly productive wells” were not capable of being achieved, including because of

erroneous assumptions for optimal well-spacing and number of wells per pad, as well as the

limitations imposed by the improperly drilled bores.

       181.    During the May 14, 2018 conference call, Defendant Chappelle also reaffirmed

Alta Mesa’s 2018 guidance, stating that “We have confidence in presenting operating results such

as production, revenue, expenses as those numbers will not change.”

       182.    The foregoing statement was false or misleading when made, for among other

reasons, because Alta Mesa could not achieve its 2018 guidance given that (i) nearly all of Alta

Mesa’s STACK wells had improperly drilled vertical bores that would dramatically increase the

cost of oil extraction while at the same time eliminating about a third of the well’s revenue

generating capabilities over the course of its life; and (ii) because of erroneous assumptions for

optimal well-spacing and number of wells per pad, as well as the limitations imposed by the

improperly drilled bores.



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       183.    On May 21, 2018, Alta Mesa filed with the SEC its Form 10-Q for the quarter

ending March 31, 2018 (the “1Q 2018 Form 10-Q”). The 1Q 2018 Form 10-Q incorporated by

reference the Risk Factor from the 2017 Form 10-K set forth above in Paragraph 177.

       184.    The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 178.

       185.    In a slide presentation for the J.P. Morgan Energy Conference, dated June 18-20,

2018 (the “June 2018 Presentation”), Alta Mesa stated “Multi-well development pattern results

across field are favorable” and included a slide stating “ESP (production acceleration).”

       186.    The foregoing statements were false or misleading when made, for among other

reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells had

improperly drilled vertical bores that would dramatically increase the cost of oil extraction while

at the same time eliminating about a third of the well’s revenue generating capabilities over the

course of its life; and (ii) “multi-well” development was not “favorable,” including because of

erroneous assumptions for optimal well-spacing and number of wells per pad, as well as the

limitations imposed by the improperly drilled bores.

       187.    On August 14, 2018, Alta Mesa released a slide presentation, which Defendants

Chappelle and Hackett presented during a conference call with investors and analysts, entitled

“Second Quarter 2018 Update” (the “Second Quarter 2018 Update Presentation”).                 That

presentation stated that Alta Mesa was “[p]ositione[d] for 2019+ Ongoing” because of

“[c]ontinuous multi-discipline efforts to define and optimize pattern drilling, completion, and

production operations” and that its “[p]roduction [t]rajectory” was “strong,” because of “Ongoing

coordination and optimization of multi-well drilling & completion,” that “Multi-well development

pattern results continue to be favorable,” and that Alta Mesa was “Systematically deploying



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ESP/jet pump.”

       188.    The foregoing statements were false or misleading when made, for among other

reasons, because they did not disclose that (i) nearly all of Alta Mesa’s STACK wells had

improperly drilled vertical bores that would dramatically increase the cost of oil extraction while

at the same time eliminating about a third of the well’s revenue generating capabilities over the

course of its life; and (ii) “multi-well” drilling and development were not “favorable” or

“optimized,” including because of erroneous assumptions for optimal well-spacing and number of

wells per pad, as well as the limitations imposed by the improperly drilled bores.

       189.    On August 15, 2018, Alta Mesa filed with the SEC its Form 10-Q for the quarter

ending June 31, 2018 (the “2Q 2018 Form 10-Q”). The 2Q 2018 Form 10-Q incorporated by

reference the Risk Factor from the 2017 Form 10-K set forth above in Paragraph 177.

       190.    The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 178.

       191.    On November 14, 2018, Alta Mesa filed its Form 10-Q with the SEC for the quarter

ending September 31, 2018 (the “3Q 2018 Form 10-Q”).

       192.    The 3Q 2018 Form 10-Q incorporated by reference the Risk Factor from the 2017

Form 10-K set forth above in Paragraph 177.

       193.    The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 178.

       B.      Materially False and Misleading Statements About Kingfisher’s Prospects and
               Expected Revenue

       194.    The August 16, 2017 8-K stated that Kingfisher had “a leading position in the

STACK play, with Alta Mesa serving as its anchor producer” and that “with approximately

300,000 gross dedicated acres from Alta Mesa and five other third party customers,” Kingfisher


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was “uniquely positioned to capitalize on the increasing development activity in the STACK.”

       195.    The foregoing statements were false and misleading when made, for among other

reasons, because they did not disclose that (i) Kingfisher and Alta Mesa had entered into gathering

agreements that were unfair to Alta Mesa, effectively looting Alta Mesa for Kingfisher’s benefit,

and that Kingfisher was not even abiding by the terms of those lopsided agreements;

(ii) Defendants knew that Alta Mesa could not produce the advertised amount of oil; and

(iii) beginning in 2017, Kingfisher knew that the other “third party customers” had delayed drilling

on acreage served by Kingfisher.

       196.    During the August 17 Conference Call, Defendant Chappelle also stated that “when

it comes to the importance of Kingfisher Midstream to Alta Mesa, it’s simply a strategic

competitive advantage for us. We’ve got a purpose-built system that allows us to operate

confidently in a multi-well development mode, we’ve got efficient processing, and we have access

that’s assured to the interstate markets during a time where there could be periodic constraints due

to the large-scale growth in the area.” Defendant Chappelle further added that Kingfisher was

“rapidly expanding,” “positioned to capture volume growth from the STACK,” and “well

positioned to serve other operators” and that Kingfisher was expected to increase its EBITDA in

2018 to $185 million and to $318 million in 2019.

       197.    The foregoing statements were false and misleading when made, for among other

reasons, because they did not disclose that (i) Kingfisher and Alta Mesa had entered into gathering

agreements that were unfair to Alta Mesa, effectively looting Alta Mesa for Kingfisher’s benefit,

and that Kingfisher was not even abiding by the terms of those lopsided agreements;

(ii) Defendants knew that Alta Mesa could not produce the advertised amount of oil; and

(iii) beginning in 2017, Kingfisher knew that the other “third party customers” had delayed drilling



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on acreage served by Kingfisher.

        198.    The Proxy stated that “Kingfisher’s revenue-producing operations are

geographically concentrated in the STACK play, causing it to be disproportionally exposed to risks

associated with regional factors” and that “[t]he concentration of Kingfisher’s operations in this

region increases Kingfisher’s exposure to unexpected events that may occur in this region such as

natural disasters or labor difficulties.”

        199.    The foregoing statement was false or misleading when made, for among other

reasons, because it did not disclose that beginning in 2017, Kingfisher knew that customers had

delayed drilling on STACK acreage served by Kingfisher, and thus that the risks warned of had

already come to pass.

        200.    With respect to Kingfisher, the Proxy also disclosed that “96.9% of Kingfisher’s

revenue were derived from production out of wells operated by Alta Mesa,” but that “Kingfisher’s

concentration to Alta Mesa is expected to decrease over time as Kingfisher provides midstream

services for additional producers.”

        201.    The foregoing statement was false or misleading when made, for among other

reasons, because it did not disclose that Kingfisher and Alta Mesa had entered into gathering

agreements that were unfair to Alta Mesa, effectively looting Alta Mesa for Kingfisher’s benefit,

and that Kingfisher was not even abiding by the terms of those lopsided agreements, and thus,

even if Kingfisher provided services to additional producers, the terms of those services would not

be as advantageous to Kingfisher as its agreements with Alta Mesa.

        202.    The Proxy also stated that Kingfisher was “rapidly expanding,” that it had “the

potential for a subsequent midstream initial public offering,” and estimated Kingfisher’s EBITDA

for 2018 of $185 million and for 2019 of $318 million.



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       203.    The foregoing statements were false and misleading when made, for among other

reasons, because they did not disclose that (i) Kingfisher and Alta Mesa had entered into gathering

agreements that were unfair to Alta Mesa, effectively looting Alta Mesa for Kingfisher’s benefit,

and that Kingfisher was not even abiding by the terms of those lopsided agreements;

(ii) Defendants knew that Alta Mesa could not produce the advertised amount of oil; and

(iii) beginning in 2017, Kingfisher knew that the other “third party customers” had delayed drilling

on acreage served by Kingfisher.

       204.    The February 21, 2018 Presentation included the statement:                “Kingfisher

Midstream (KFM) purpose built and highly synergistic; flow assurance de-risks production

growth.”

       205.    The foregoing statement was false or misleading when made, for among other

reasons, because it did not disclose that Kingfisher and Alta Mesa had entered into gathering

agreements that were unfair to Alta Mesa, effectively looting Alta Mesa for Kingfisher’s benefit,

and that Kingfisher was not even abiding by the terms of those lopsided agreements.

       206.    As to Kingfisher, the 2017 Form 10-K included as risk factors that “The primary

factors affecting our ability to connect new wells to our gathering facilities include our success in

contracting for existing supplies that are not committed to other systems and the level of drilling

activity near our gathering system, that “our future growth will depend in part upon whether we

can contract for additional supplies at a greater rate than the rate of natural decline in our current

supplies” and that “Although drilling activity improved during 2016 and 2017, we could see

downward pressure on future drilling activity in the STACK play if commodity prices decline,

which may result in lower volumes.”

       207.    The foregoing statements were false and misleading when made, for among other



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reasons, because they did not disclose that the warned of risks had already come to fruition, given

that (i) Kingfisher and Alta Mesa had entered into gathering agreements that were unfair to Alta

Mesa, effectively looting Alta Mesa for Kingfisher’s benefit, and that Kingfisher was not even

abiding by the terms of those lopsided agreements; (ii) Defendants knew that Alta Mesa could not

produce the advertised amount of oil; and (iii) beginning in 2017, Kingfisher knew that the other

“third party customers” had delayed drilling on acreage served by Kingfisher.

       208.    The 2017 Form 10-K also included as a risk factor as to Kingfisher that “The

renewal or replacement of our existing contracts with our midstream customers at rates sufficient

to maintain or increase current revenues and cash flows depends on a number of factors beyond

our control, including competition from other midstream service providers and the price of, and

demand for, crude oil, natural gas and NGLs in the markets we serve. The inability of our

management to renew or replace our current contracts as they expire and to respond appropriately

to changing market conditions could have a negative effect on our profitability.”

       209.    The foregoing statement was false and misleading when made, for among other

reasons, because it did not disclose that the warned of risk had already come to fruition, given that

(i) Kingfisher and Alta Mesa had entered into gathering agreements that were unfair to Alta Mesa,

effectively looting Alta Mesa for Kingfisher’s benefit, and that Kingfisher was not even abiding

by the terms of those lopsided agreements; (ii) Defendants knew that Alta Mesa could not produce

the advertised amount of oil; and (iii) beginning in 2017, Kingfisher knew that the other “third

party customers” had delayed drilling on acreage served by Kingfisher.

       210.    The 1Q 2018 Form 10-Q incorporated by reference the Risk Factors from the 2017

Form 10-K set forth above in Paragraphs 206 and 208.

       211.    The foregoing statements were false or misleading when made for the reasons set



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forth above in Paragraphs 207 and 209.

       212.    In the June 2018 Presentation, on a slide entitled “Alta Mesa’s Trajectory,” under

the heading “2018,” the presentation stated “Execute on midstream business development” and

under the heading 2019, “Midstream business achieves scale for IPO or other alternatives.”

       213.    The foregoing statement was false and misleading when made, for among other

reasons, because it did not disclose that (i) Kingfisher and Alta Mesa had entered into gathering

agreements that were unfair to Alta Mesa, effectively looting Alta Mesa for Kingfisher’s benefit,

and that Kingfisher was not even abiding by the terms of those lopsided agreements;

(ii) Defendants knew that Alta Mesa could not produce the advertised amount of oil; and

(iii) beginning in 2017, Kingfisher knew that the other “third party customers” had delayed drilling

on acreage served by Kingfisher.

       214.    On a slide entitled “Alta Mesa’s Trajectory,” under the heading “2018,” the Second

Quarter 2018 Update Presentation stated “Execute on midstream business development” and under

the heading 2019, “Midstream business achieves scale for IPO or other alternatives.”

       215.    The foregoing statement was false and misleading when made, for among other

reasons, because it did not disclose that (i) Kingfisher and Alta Mesa had entered into gathering

agreements that were unfair to Alta Mesa, effectively looting Alta Mesa for Kingfisher’s benefit,

and that Kingfisher was not even abiding by the terms of those lopsided agreements;

(ii) Defendants knew that Alta Mesa could not produce the advertised amount of oil; and

(iii) beginning in 2017, Kingfisher knew that the other “third party customers” had delayed drilling

on acreage served by Kingfisher.

       216.    The 2Q 2018 Form 10-Q incorporated by reference the Risk Factors from the 2017

Form 10-K set forth above in Paragraphs 206 and 208.



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       217.    The foregoing statements were false or misleading when made for the reasons set

forth above in Paragraphs 207 and 209.

       218.    The 3Q 2018 Form 10-Q incorporated by reference the Risk Factors from the 2017

Form 10-K set forth above in Paragraphs 206 and 208.

       219.    The foregoing statements were false or misleading when made for the reasons set

forth above in Paragraphs 207 and 209.

       C.      Materially False and Misleading Statements About Alta Mesa’s Internal
               Controls

       220.    In response to the massive accounting scandals at Enron, WorldCom, Global

Crossing and Tyco, Congress enacted sweeping reforms to restore integrity to the financial markets

and regain investors’ trust and confidence in those markets. Many such reforms were included in

the Sarbanes-Oxley Act of 2002 (“SOX”) in an effort to prevent a recurrence of the abusive

practices that had caused billions of dollars of losses to investors in public companies. One of the

cornerstones of these reforms was the requirement that companies set up a sound financial

accounting system that would generate reliable, verifiable financial reports; furthermore, one of

the key features of this requirement is that the company’s principal officers – typically, the CEO

and the CFO – were required to certify in writing that they have undertaken sufficient investigation

to confirm that the company has indeed established the requisite financial accounting system, that

it has produced accurate financial statements that fully and fairly identify the company’s financial

position, and the company’s system of internal disclosure controls and procedures are effective

and capable of raising any red flags and providing the signing officers with all the material

information they need to know the company’s true financial condition.

       221.    Accordingly, when a CEO and CFO sign a SOX-required certification attesting that

the company’s internal control function over its financial reporting is effective, and that the


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financial statements produced by the company’s accounting system are reliable and verifiable in

presenting the company’s true financial condition, they are implementing that crucial step of the

congressional reforms designed to restore confidence in capital markets and in individual

companies’ earnings reports. This is not a mere rote exercise by which corporate officers can

dodge their grave responsibilities by simply checking a box and signing on the dotted line to

rubber-stamp compliance; on the contrary, Congress and the capital markets fully expect that

senior management has discharged their highly critical duty by actively confirming the company’s

disclosure and financial controls. In addition, by his or her signature, the certifying officer is

broadcasting to investors that it has disclosed any fraud or is not aware of any fraud. Investors

rely on the accuracy and transparency of these disclosures when determining whether to invest.

       222.    Defendants repeatedly certified that they had established effective internal controls

over Alta Mesa’s financial reporting as well as effective disclosure controls and procedures for

Alta Mesa.

       223.    The 2017 Form 10-K stated that Alta Mesa’s “Chief Executive Officer and Chief

Financial Officer concluded that our disclosure controls and procedures (as defined in Rules 13a-

15 (e) and 15d-15 (e) under the Exchange Act) were effective.”

       224.    The foregoing statement was false or misleading when made, for among other

reasons, because Alta Mesa did not have effective disclosure controls and procedures, as

demonstrated by the Company’s February 25, 2019 announcement, which resulted in, among other

things, a $3.1 billion write-down.

       225.    Defendant Chappelle certified that the 2017 Form 10-K did “not contain any untrue

statement of a material fact or omit to state a material fact necessary to make the statements made,

in light of the circumstances under which such statements were made, not misleading with respect



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to the period covered by this report.”

        226.    The foregoing certification was false or misleading when made because, as shown

herein, the 2017 Form 10-K contained numerous untrue statements of material fact and/or omitted

numerous material facts necessary to make statements not misleading.

        227.    Defendant Chappelle also certified that “The registrant’s other certifying officer

and I are responsible for establishing and maintaining disclosure controls and procedures (as

defined in Exchange Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial

reporting (as defined in Exchange Act Rules 13a-15(f) and 15d-15(f)) for the registrant and have:

a. Designed such disclosure controls and procedures, or caused such disclosure controls and

procedures to be designed under our supervision, to ensure that material information relating to

the registrant, including its consolidated subsidiaries, is made known to us by others within those

entities, particularly during the period in which this report is being prepared;

b. Designed such internal control over financial reporting, or caused such internal control over

financial reporting to be designed under our supervision, to provide reasonable assurance regarding

the reliability of financial reporting and the preparation of financial statements for external

purposes in accordance with generally accepted accounting principles;

c. Evaluated the effectiveness of the registrant’s disclosure controls and procedures and presented

in this report our conclusions about the effectiveness of the disclosure controls and procedures as

of the end of the period covered by this report based on such evaluation; and

d. Disclosed in this report any change in the registrant’s internal control over financial reporting

that occurred during the registrant’s most recent fiscal quarter (the registrant’s fourth fiscal quarter

in the case of an annual report) that has materially affected, or is reasonably likely to materially

affect, the registrant’s internal control over financial reporting; and



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The registrant’s other certifying officer and I have disclosed, based on our most recent evaluation

of internal control over financial reporting, to the registrant’s auditors and the audit committee of

registrant’s board of directors (or persons performing the equivalent functions):

a. All significant deficiencies and material weaknesses in the design or operation of internal control

over financial reporting which are reasonably likely to adversely affect the registrant’s ability to

record, process, summarize and report financial information; and

b. Any fraud, whether or not material, that involves management or other employees who have a

significant role in the registrant’s internal control over financial reporting.

        228.    The foregoing certification was false or misleading when made, because Alta Mesa

did not have adequate disclosure controls and procedures or adequate internal control over

financial reporting, as demonstrated by the Company’s February 25, 2019 announcement, which

resulted in, among other things, a $3.1 billion write-down.

        229.    Along with the above certifications, Defendant Chappelle also provided a SOX

certification that the 2017 Form 10-K “fully complies with requirements of Section 13(a) or 15(d)

of the Securities Exchange Act of 1934 and the information contained in the Report fairly presents,

in all material respects, the financial condition and results of operations of the Company.”

        230.    This certification was false or misleading when made because the 2017 Form 10-K

did not present fairly and in all material respect the financial condition and results of Alta Mesa

and because Alta Mesa did not have adequate disclosure controls and procedures or adequate

internal control over financial reporting, as demonstrated by the Company’s February 25, 2019

announcement, which resulted in, among other things, a $3.1 billion write-down.

        231.    The 1Q 2018 Form 10-Q contained the same statement set forth above in

Paragraph 223.



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       232.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 224.

       233.   The 1Q 2018 Form 10-Q contained the same certification set forth above in

Paragraph 225.

       234.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 226.

       235.   The 1Q 2018 Form 10-Q contained the same certification set forth above in

Paragraph 227.

       236.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 228.

       237.   The 1Q 2018 Form 10-Q contained the same SOX certification set forth above in

Paragraph 229.

       238.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 230.

       239.   The 2Q 2018 Form 10-Q contained the same statement set forth above in

Paragraph 223.

       240.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 224.

       241.   The 2Q 2018 Form 10-Q contained the same certification set forth above in

Paragraph 225.

       242.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 226.

       243.   The 2Q 2018 Form 10-Q contained the same certification set forth above in



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Paragraph 227.

       244.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 228.

       245.   The 2Q 2018 Form 10-Q contained the same SOX certification set forth above in

Paragraph 229.

       246.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 230.

       247.   The 3Q 2018 Form 10-Q contained the same statement set forth above in

Paragraph 223.

       248.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 224.

       249.   The 3Q 2018 Form 10-Q contained the same certification set forth above in

Paragraph 225.

       250.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 226.

       251.   The 3Q 2018 Form 10-Q contained the same certification set forth above in

Paragraph 227.

       252.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 228.

       253.   The 3Q 2018 Form 10-Q contained the same SOX certification set forth above in

Paragraph 229.

       254.   The foregoing statement was false or misleading when made for the reasons set

forth above in Paragraph 230.



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       D.      This Court’s Decision Denying the Motion to Dismiss the Class Action
               Complaint Confirms Defendants’ Numerous Materially False and Misleading
               Statements

       255.    This Court has already held that many of the above statements are adequately

alleged to have been materially false and misleading when made.

       256.    Indeed, the Court held that the “circumstances surrounding [Alta Mesa’s] financial

reporting . . . are alone enough” to proceed to discovery. (No. 19-cv-957, ECF No. 160 at 25.)

VI.    SUMMARY OF DEFENDANTS’ SCIENTER

       257.    In denying the motion to dismiss the Class Action Complaint, the Court held that

severe recklessness, sufficient to plead scienter under Section 10(b), was shown based on

allegations that (i) the $3.1 billion February 2019 write-down “constituted over 80% of Alta

Mesa’s value and was disclosed a year after the special purpose acquisition company merger”;

(ii) “[t]he write-down came simultaneously with the news that Alta Mesa’s accounting firm

identified sixteen ‘material weaknesses’ in Alta Mesa’s internal control over financial reporting,”

including (a) “ineffective controls over the identification and processing of relevant and reliable

information,” (b) “ineffective controls over the financial statement close and disclosure process,

including the completeness, existence and accuracy of the financial information,” and

(c) “ineffective management review controls over various complex accounting estimates”;

(iii) “[t]he SEC is investigating the write-down and Alta Mesa’s accounting practices”; and (iv) the

Class Action Complaint including “accounts of two production engineers” that “AMH and Alta

Mesa clandestinely used unconventional and unsustainable drilling methods to inflate reserve and

earnings estimates both before and after the merger.” (No. 19-cv-957, ECF No. 160, at 27-28.)

       258.    Additional Scienter for Statements About Kingfisher. Kingfisher was founded

to serve as AMH’s midstream gatherer in the STACK. Kingfisher was funded through investments

by ARM, HMI, and HPS. Chappelle and Ellis owned a large stake in Kingfisher.
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       259.    Presentations about the creation of Kingfisher detailed that the rates it would charge

to AMH would be substantially higher than the then-current rates AMH was paying for gathering

services in the STACK.

       260.    The 2015 Gathering Agreements between Kingfisher and AMH favored Kingfisher

and were unfair to AMH. Chappelle signed those agreements on behalf of both AMH and

Kingfisher.

       261.    AMH managers openly questioned the exorbitant fees that AMH was paying

Kingfisher under the 2015 Gathering Agreements.

       262.    Under the terms of a December 1, 2016 agreement, Kingfisher was required to

construct a system to gather up to 50,000 barrels of oil per day from AMH. Kingfisher never

constructed this system, but still charged AMH for every barrel that AMH paid another party to

transport.

       263.    Thus, the value of AMH’s production assets were being diverted to Kingfisher, and

its owners, including ARM, HMI, HPS, Chappelle, and Ellis.

       264.    Additional Scienter for Statements About AMH/Alta Mesa’s Oil Production

and Drilling Methods. As early as June 2017, Chappelle, Turner and Ellis knew that patterns that

had six or more wells in a section would produce less than patterns that had three wells or fewer

per section. Turner told Chappelle in June 2017 that there “could be an argument” that the test

patterns with an EUR of around 250 MBO achieved those results because those patterns only had

three wells per section. Chappelle agreed with this assessment.

       265.    In June 2017, Chappelle also told Ellis that a test pattern that would be drilled later

in 2017 would be a “very important test,” as it would be an eight-well child pattern, as opposed to

a three-well sibling pattern, like the patterns that had EUR of around 250 MBO.



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       266.    By August 2017, Chappelle, Ellis, and Turner knew that none of the child wells in

the test patterns that were producing oil at that time had anywhere close to an EUR of 250 MBO.

       267.    By November 2017, Chappelle, Ellis, and Turner also knew that drilling more wells

in a section could cause well interference, lowering the production from certain wells in that

section. These concerns arose in connection with one of the test patterns that had an EUR of only

about 150 MBO.

       268.    As of December 2017, only two test patterns had an average EUR per well of

around 250 MBO, and both of those were sibling patterns. These two test patterns only had three

wells per pattern. Thus, the results of these two patterns could not be reliably extrapolated to

drilling patterns with more wells per section.

       269.    Alta Mesa’s 2018 drilling program was predicated on the premise that Alta Mesa

had more than 4,000 gross drilling locations, could drill up to 12 wells per section, and could

recover 250 MBO from each well in the section. But Alta Mesa, Chappelle, Ellis, and Turner

knew as early as mid-2017 that those recoveries could not be achieved.

       270.    Moreover, Alta Mesa’s drilling program was essential to Alta Mesa’s success and

was therefore a core operation of the Company. Alta Mesa’s directors and officers knew, or were

reckless in being unaware of, the details of Alta Mesa’s STACK drilling strategy. In particular,

Defendants’ communications with the investing public were focused on Alta Mesa’s STACK

drilling program, reflecting that Alta Mesa, the Management Defendants, and the Board

Defendants were privy to specific knowledge (or direct access to) data and facts regarding Alta

Mesa’s STACK drilling, whether the true facts were disclosed to the investing public or not.

       271.    For example, on August 11, 2016, Defendant Chappelle participated in an earnings

conference call with analysts and investors, which made clear that he was focused on the details



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of AMH’s STACK drilling strategy. Defendant Chappelle remarked: “We’re drilling and

completing our STACK wells for about $3.1 million per well, having cut our drilling time from

over 30 days in 2014 to an average of less than 15 days, spud to rig release is the measure during

the past few years. Much of the decrease in our average well cost since 2014 has come from design

and efficiency improvements. We’re focused on the continued definition of a large-scale program

of horizontal drilling and multistage hydraulic fracturing to develop the Mississippian age section

within our acreage, which is primarily Osage and Meramec. It also includes Manning and Chester

in a material part of our footprint. In addition to this, we’re also developing the Pennsylvanian age

Oswego line, as well as other formations.”

       272.    Defendant Chappelle made similarly detailed statements about the STACK drilling

strategy and operations on conference calls with analysts and investors on November 10, 2016,

and March 30, 2017.

       273.    According to allegations in the Class Action Complaint based on information

obtained from a former Alta Mesa employee, the Company conducted meetings on Monday

mornings (the “Monday Morning Meetings”), which were attended by mid-to-senior management

from the (i) drilling/engineering; (ii) completions; (iii) production; and (iv) facilities groups.

Defendants Chappelle, Ellis, and Hackett regularly attended the Monday Meetings. The topics

covered during the Monday Meetings included actual and projected production data from Alta

Mesa’s STACK wells, as well as technical and detailed topics about well production, such as the

use of ESPs, water handling, and other topics.

       274.    The Class Action Complaint further alleges that a senior reservoir engineer at Alta

Mesa initially provided management with internal EUR estimates, but, unhappy with those

estimates, Alta Mesa management pressured that engineer to provide higher EUR estimates. After



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the engineer refused to do so, management removed them from the task of generating EUR

estimates and reduced their job responsibilities.

       275.    In addition to drilling too many wells per pad and drilling wells too close together,

which Alta Mesa management knew would damage the long-term production prospects from those

wells, Alta Mesa also employed ESPs to increase production. But ESPs were costly, leading to an

increased per-pump cost of approximately $400,000 to $415,000, along with electricity costs.

Moreover, although ESPs were used in drilling operations in other regions, such as the Gulf Coast,

ESPs were not appropriate for the drilling conditions present in the STACK, leading the ESPs to

clog frequently, which required costly remediation. This further drove up per-pump costs.

       276.    Worse still, any increased production from employing ESPs was only a short-term

phenomenon, as the increased production on the wells with ESPs were essentially robbing other

wells of potential production.

       277.    According to allegations in the Class Action Complaint based on information

obtained from a former Alta Mesa employee, Alta Mesa’s senior management, including the

Management Defendants, were told during Monday Meetings that the use of ESPs was not prudent

in the long-term and that ESPs were causing adjacent wells to produce less oil than previously.

Indeed, other companies in the STACK region has also tried using ESPs but had abandoned that

practice because overall production was not improved.

       278.    In addition, in an attempt to increase production, Alta Mesa drilled highly curved

bore holes. According to allegations in the Class Action Complaint based on information obtained

from a former Alta Mesa employee, Alta Mesa’s senior management, including the Management

Defendants, were told during Monday Meetings by production personnel about how Alta Mesa

had drilled the wellbores in violation of industry norms in a manner that would jeopardize the



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long-term viability of the well.

       279.    Also according to the Class Action Complaint, industry practice involves moving

the drilling rig a reasonable distance on the pad when drilling on a new well commences. But to

save money, Alta Mesa did not sufficiently move the rigs across the pad, but rather “walked” them

a short distance to the new drilling location. To avoid contact between these wellbores, many of

Alta Mesa’s wells had the upper vertical portions of their bores drilled in an unusual “S”-shape.

This “S” shape undermined the child wells’ extraction potential at the later stage of its production.

This was not normal industry practice. The consequence of the S-shaped wells was that Alta Mesa

was knowingly sacrificing one-quarter to one-third of the lifetime output of over 90% of its wells.

Despite repeated complaints to Alta Mesa’s senior management, including the Management

Defendants, the Company stuck to this short-sighted practice. As a result, the Defendants knew

the Company’s 650 MBOE/d reserve estimates were wildly and knowingly exaggerated.

       280.    The Class Action Complaint alleges that Defendant Ellis stated during an internal

meeting that an unspecified, nonexistent technology in the future would become available to

address the long-term problems caused by an S-shaped well. Ellis was informed that no such

technology existed, and that companies were not even investing in research and development for

such technology at this time.

       281.    The SPAC Structure Further Supports a Strong Inference of Scienter Here.

In November 2016, Silver Run obtained 11,500,000 founder shares of Alta Mesa for $25,000, or

approximately $0.002 per share. In March 2017, Silver Run Sponsor II, LLC (“Sponsor”) (an

affiliate of Defendant Riverstone), obtained an additional 14,375,000 founder shares as a result of

a stock dividend. At the same time, the Sponsor transferred a total of 99,000 founder shares to the

Company’s independent board members.



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       282.    Accordingly, as of March 2017, Riverstone controlled 25,776,000 founder shares,

with a cost basis of $25,000 (or $0.00096 per share). Moreover, in March 2017, the Sponsor

transferred 33,000 founder shares each to Gutermuth, Tepper and Walters, at a cost basis of $0.00.

       283.    According to the Company’s regulatory filings, each founder share is the equivalent

of one share of Alta Mesa’s Class A common stock. On February 9, 2018, all founder shares were

converted to shares of Alta Mesa Class A common stock on a one-for-one basis.

       284.    In February 2018, the Company began the process of offering Alta Mesa securities

in a secondary offering. As part of the offering, Riverstone, Hackett, Gutermuth, Tepper and

Walters, through the Sponsor, had the opportunity to sell all of their founder shares provided

certain sales restrictions were met. Namely, they could sell their founder shares if and when the

sale price of the Company’s Class A common stock exceeded $12.00 per share for any 20 trading

days within any 30-day trading period commencing at least 150 days after the closing date of the

Silver Run, AMH and Kingfisher merger (alternatively, 150 days following February 9, 2018).

       285.    Riverstone, Hackett, Gutermuth, Tepper and Walters, therefore, had the motivation

to mislead (as well as cause others to mislead) about the potential of Alta Mesa, the STACK

drilling strategy, and Kingfisher. Had Alta Mesa’s stock price met the founder stock sale

restriction – hypothetically traded at just $12.01 per share for 20 days within a 30-day trading

period – and they sold that stock for $12.01 per share, Riverstone, Hackett, Gutermuth, Tepper

and Walters had the opportunity to unlawfully profit by over $301 million on investments that

carried a mere cost basis of $25,000.

       286.    Likewise, Control Entity Defendants Bayou City and HPS were incentivized to

mislead investors. First, these defendants received part of the $1.3 billion paid to the prior owners

of AMH and Kingfisher through the Merger. Specifically, Bayou City and HPS, along with non-



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party High Mesa, received $814.8 million in cash from the merger, as well as approximately a

14.4% economic interest in an operating company that was Alta Mesa’s sole significant asset

following the merger.

        287.     Second, in order to inflate Alta Mesa’s stock price following the transaction to

receive the earn-out payments worth up to $1 billion if Alta Mesa’s 20-day value-weighted average

price exceeded various thresholds ranging from $14.00 per share to $20.00 per share.

VII.    PRESUMPTION OF RELIANCE

        288.     Plaintiffs intend to rely upon the presumption of reliance established by the fraud-

on-the-market doctrine in that, among other things: (a) Defendants made public misrepresentations

or failed to disclose material facts during the relevant time period; (b) the omissions and

misrepresentations were material; (c) Silver Run/Alta Mesa’s common stock traded in an efficient

market; (d) the misrepresentations alleged would tend to induce a reasonable investor to misjudge

the value of Silver Run/Alta Mesa’s common stock; and (e) Plaintiffs purchased Silver Run/Alta

Mesa’s common stock between the time Defendants misrepresented or failed to disclose material

facts and the time when the true facts were disclosed, without knowledge of the misrepresented or

omitted facts.

        289.     The market for Silver Run/Alta Mesa’s common stock was open, well-developed

and efficient at all relevant times. As a result of the aforementioned materially false and

misleading statements, Silver Run/Alta Mesa’s common stock traded at artificially inflated prices

during the relevant period. The artificial inflation continued until the time the market fully came

to realize the nature and extent of Defendants’ misrepresentations concerning (i) ; (ii) ; and

(iii) Alta Mesa’s internal controls.

        290.     At all relevant times, the market for Silver Run/Alta Mesa’s common stock was



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efficient for the following reasons, among others: (a) Silver Run/Alta Mesa filed periodic reports

with the SEC; (b) Silver Run/Alta Mesa’s common stock met the requirements for listing and was

in fact listed and actively traded on the NASDAQ, a highly efficient and automated market, during

the time that Plaintiffs purchased Silver Run/Alta Mesa’s common stock; (c) numerous securities

analysts that were employed by major brokerage firms followed Alta Mesa, preparing reports that

were distributed to the sales forces and customers of their respective brokerage firms, with such

reports being publicly available and entering the public marketplace; and (d) Silver Run/Alta Mesa

regularly publicly communicated with investors via established market communication

mechanisms, including through regular disseminations of press releases on the major news wire

services and through other wide-ranging public disclosures, such as communications with the

financial press, securities analysts and other similar reporting services.

       291.    In the Class Action, Defendants did not oppose class certification, thereby

effectively conceding that Silver Run/Alta Mesa common stock traded in an efficient market

during the period when Plaintiffs purchased that stock in reliance on its market price. (See No. 19-

cv-957, ECF No. 240.)

       292.    Plaintiffs relied on the market price of Silver Run/Alta Mesa’s common stock,

which reflected all the information in the market, including the misstatements by Defendants.

VIII. PLAINTIFFS’ ACTUAL RELIANCE

       293.    During the relevant period, Plaintiffs’ investment in Silver Run/Alta Mesa common

stock was managed by Alyeska Investment. Investment personnel at Alyeska Investment initiated

the investment decisions with respect to Plaintiffs’ purchases of Alta Mesa common stock. Factors

considered by Alyeska Investment personnel in making such decisions included, among other

things, Alta Mesa’s financial performance and a review of the Company’s strengths, weaknesses



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and opportunities.

        294.     Prior to making the decision to purchase Silver Run/Alta Mesa common stock, an

Alyeska Investment professional actually and justifiably read, reviewed and relied upon (to the

extent the referenced documents had been published at the time) information contained in the

August 16, 2017 8-K, the August 17, 2017 Conference Call, the Proxy, the February 21, 2018

Presentation, the March 29, 2018 Press Release, the March 29, 2018 Presentation, the March 29,

2018 Conference Call, the 2017 Form 10-K, the May 14, 2018 Presentation, the May 14, 2018

Conference Call, the 1Q 2018 Form 10-Q, the June 2018 Presentation, the Second Quarter 2018

Update Presentation, the 2Q 2018 Form 10-Q, and the 3Q 2018 Form 10-Q, including (as

applicable): (a) the statements concerning AMH/Alta Mesa oil production and drilling methods;

(b) the statements concerning Kingfisher’s prospects and expected revenue, and (c) the statements

concerning Alta Mesa’s internal controls.

        295.     Alyeska Investment personnel actually and justifiably relied upon information

contained in the foregoing documents (to the extent each such document had been published at the

time) in making each purchase of Silver Run/Alta Mesa common stock alleged herein on behalf

of Plaintiffs.

        296.     In addition, Alyeska Investment personnel actually and justifiably relied upon

information contained in the August 16, 2017 8-K, the August 17, 2017 Conference Call, and the

Proxy in voting on the Merger. Had Alyeska Investment personnel knew the true facts about

(a) AMH/Alta Mesa oil production and drilling methods; (b) Kingfisher’s prospects and expected

revenue, and (c) Alta Mesa’s internal controls that were known to Defendants at the time of the

vote on the Merger, but withheld from Alyeska and the investing public, Alyeska Investment

personnel would have chosen to redeem Alyeska’s Silver Run shares rather than hold those shares



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through the Merger. By relying on Defendants’ materially false and misleading statements about

the foregoing topics, Alyeska Investment personnel were induced into not redeeming Alyeska’s

Silver Run shares and instead holding those shares through the Merger.

IX.     LOSS CAUSATION

        297.    As the truth about AMH/Alta Mesa oil production and drilling methods,

Kingfisher’s prospects and expected revenue, Alta Mesa’s internal controls gradually and slowly

leaked into the market, and the risks that Alta Mesa and Defendants had concealed materialized,

starting on March 29, 2018, the price of Alta Mesa’s common stock dropped precipitously.

        298.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiffs. During the time that Plaintiffs purchased Alta Mesa’s

common stock, the market price of those securities was artificially inflated as a direct result of

Defendants’ materially false and misleading statements.              Specifically, statements about

(a) AMH/Alta Mesa oil production and drilling methods; (b) Kingfisher’s prospects and expected

revenue, and (c) Alta Mesa’s internal controls, caused the price of Alta Mesa’s common stock to

be artificially inflated.

        299.    As a series of partial but inadequate disclosures was issued correcting the prior false

and misleading statements with respect to (a) the statements concerning AMH/Alta Mesa oil

production and drilling methods; (b) the statements concerning Kingfisher’s prospects and

expected revenue, and (c) the statements concerning Alta Mesa’s internal controls – and as the

foreseeable risks previously concealed by Defendants’ material misstatements and omissions

partially materialized – the price of Alta Mesa’s stock declined precipitously, and Plaintiffs were

damaged.

        300.    Defendants’ fraud was first partially revealed on March 29, 2018, when Alta Mesa



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disclosed EBITDA and production results that were dramatically less than the estimates provided

in the Proxy. That disclosure revealed that Alta Mesa’s average net daily production was 8%

below the 2018 estimates provided in the Proxy and that Kingfisher’s 2018 EBITDA was expected

to be about half of what was estimated in the Proxy..

       301.    Following these disclosures, Alta Mesa’s stock dropped in value by about 4.5%

from a closing price on March 28, 2018 of $8.38 per share to a closing price on March 29, 2018

of $8.00 per share. This decrease was a result of a partial but inadequate correction of Defendants’

prior materially false and misleading statements about (a) AMH/Alta Mesa oil production and

drilling methods; (b) Kingfisher’s prospects and expected revenue, and (c) Alta Mesa’s internal

controls and/or a partial materialization of foreseeable risks concealed by Defendants’ prior

materially false and misleading statements.

       302.    Alta Mesa’s stock price continued to decline the next trading day, April 2, 2018,

closing at $7.36 per share, an additional 8% decline from the $8.00 closing price on March 29,

2018. This decrease was a result of a partial but inadequate correction of Defendants’ prior

materially false and misleading statements about (a) AMH/Alta Mesa oil production and drilling

methods; (b) Kingfisher’s prospects and expected revenue, and (c) Alta Mesa’s internal controls

and/or a partial materialization of foreseeable risks concealed by Defendants’ prior materially false

and misleading statements. In total, Alta Mesa common shares declined by approximately 12%

from its closing price on March 29, 2018 through its closing price on April 2, 2018.

       303.    Defendants’ March 29, 2018 disclosures continued their fraud upon public

investors, including Alyeska.     Defendants claimed that the problems with production and

Kingfisher’s revenues were temporary and continued to make positive statements about Alta

Mesa’s growth, including reaffirming the 2018 projections contained in the Proxy. Defendant



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Chappelle represented that the results only represented a six-month shift in revenue for Kingfisher

and a two-month shift for AMH’s oil production.

       304.    On August 14, 2018, Alta Mesa disclosed that it expected average net daily

production for 2018 to be 22% below the projections contained in the Proxy, and that as of the

second quarter of 2018, production was about one-third less than the Proxy projections. Alta Mesa

also revealed that its wells were suffering from technical problems, including repeated shut-ins,

that further hampered production. As to Kingfisher, Alta Mesa disclosed that its EBITDA was

significantly below the 2018 projections contained in the Proxy.

       305.    Following these disclosures, Alta Mesa’s stock plummeted in value by more than

21% from a closing price on August 13, 2018 of $6.08 per share to a closing price on August 14,

2018 of $4.77 per share. This marked decrease was a result of a partial but inadequate correction

of Defendants’ prior materially false and misleading statements about (a) AMH/Alta Mesa oil

production and drilling methods; (b) Kingfisher’s prospects and expected revenue, and (c) Alta

Mesa’s internal controls and/or a partial materialization of foreseeable risks concealed by

Defendants’ prior materially false and misleading statements.

       306.    As the market continued to absorb and react to Alta Mesa’s August 14, 2018

disclosures, Alta Mesa stock continued to fall by more than 9%, from a closing price on August 14,

2018 of $4.77 per share to a closing price of $4.34 per share on August 15, 2018. This decrease

was a result of a partial but inadequate correction of Defendants’ prior materially false and

misleading statements about (a) AMH/Alta Mesa oil production and drilling methods;

(b) Kingfisher’s prospects and expected revenue, and (c) Alta Mesa’s internal controls and/or a

partial materialization of foreseeable risks concealed by Defendants’ prior materially false and

misleading statements. In total, Alta Mesa’s stock price declined by about 29% from its closing



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price on August 13, 2018 through its closing price on August 15, 2018.

       307.    Yet again, Defendants lulled the investing public, including Alyeska, with

Defendant Chappelle assuring investors that any problems were temporary and mere “timing

delays.” Defendant Chappelle even went so far as to claim that production problems had no effect

on the long-term value of Alta Mesa and that Alta Mesa was “poised to deliver significant

shareholder value.” Similarly, despite Kingfisher’s anemic 2018 performance to date, Defendant

Chappelle promised “continued opportunity for business expansion, given the strong fundamentals

of STACK and Northwest STACK.”

       308.    On November 13, 2018, after market close, Alta Mesa disclosed that it would report

consolidated EBIDTAX of only $83.8 million, dramatically below the $358 million projection in

the Proxy. Alta Mesa also reduced Kingfisher’s 2018 EBITDA to only $36 to $38 million, about

80% less than the Proxy’s projections less than a year earlier.

       309.    Following these disclosures, Alta Mesa’s stock declined in value by about 15%

from a closing price on November 13, 2018 of $2.82 per share to a closing price on November 14,

2018 of $2.40 per share. This marked decrease was a result of a partial but inadequate correction

of Defendants’ prior materially false and misleading statements about (a) AMH/Alta Mesa oil

production and drilling methods; (b) Kingfisher’s prospects and expected revenue, and (c) Alta

Mesa’s internal controls and/or a partial materialization of foreseeable risks concealed by

Defendants’ prior materially false and misleading statements.

       310.    As the market continued to absorb and react to Alta Mesa’s November 13, 2018

disclosures, Alta Mesa stock continued to fall by about 5%, from a closing price on November 14,

2018 of $2.40 per share to a closing price of $2.285 per share on November 15, 2018. This

decrease was a result of a partial but inadequate correction of Defendants’ prior materially false



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and misleading statements about (a) AMH/Alta Mesa oil production and drilling methods;

(b) Kingfisher’s prospects and expected revenue, and (c) Alta Mesa’s internal controls and/or a

partial materialization of foreseeable risks concealed by Defendants’ prior materially false and

misleading statements. In total, Alta Mesa’s stock price declined by about 20% from its closing

price on November 13, 2018 through its closing price on November 15, 2018.

       311.    As with the prior disclosures, Defendants continued to conceal the full truth of their

fraud from the investing public, including Alyeska. Defendant Chappelle reiterated that the

“quality” of Alta Mesa’s assets and its cost control “allow[ed]” it “to have consistently profitable

wells.” Alta Mesa also announced the transfer of water disposal assets from AMH to Kingfisher

and reiterated that the “long-term outlook” for Kingfisher was “strong.”

       312.    On February 25, 2019, after market close, Alta Mesa disclosed that it would be

forced to delay the announcement of its 2018 results because it “had an ineffective internal control

over financial reporting due to an identified material weakness in both the design of its controls

and the execution of its control procedures.”

       313.    Making matters worse, Alta Mesa also disclosed that it expected to “record

material, non-cash asset impairment charges” of approximately $3.1 billion—nearly the entire

value of the Merger—representing $2 billion from AMH and $1.1 billion from Kingfisher. And

Alta Mesa projected that 2019 production would be less than half of the 2019 production estimates

contained in the Proxy and that the Company would reduce its active drilling rig count to zero

(from six) by the end of January 2019.

       314.    Following these disclosures, Alta Mesa’s stock cratered in value by about 63% from

a closing price on February 25, 2019 of 91 cents per share to a closing price on February 26, 2018

of 24 cents per share. This marked decrease was a result of a partial but inadequate correction of



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Defendants’ prior materially false and misleading statements about (a) AMH/Alta Mesa oil

production and drilling methods; (b) Kingfisher’s prospects and expected revenue, and (c) Alta

Mesa’s internal controls       and/or a partial materialization of foreseeable risks concealed by

Defendants’ prior materially false and misleading statements.

       315.    As the market continued to absorb and react to Alta Mesa’s February 25, 2019

disclosures, Alta Mesa stock continued to fall from a closing price on February 26, 2019 of 24

cents per share to a closing price of 23 cents per share on February 27, 2019. This decrease was a

result of a partial but inadequate correction of Defendants’ prior materially false and misleading

statements about (a) AMH/Alta Mesa oil production and drilling methods; (b) Kingfisher’s

prospects and expected revenue, and (c) Alta Mesa’s internal controls and/or a partial

materialization of foreseeable risks concealed by Defendants’ prior materially false and misleading

statements. In total, Alta Mesa’s stock price declined by about 75% from its closing price on

February 25, 2019 through its closing price on February 27, 2018.

       316.    On May 17, 2019, Alta Mesa disclosed that the SEC was investigating the

Company’s material weakness in internal controls over financial reporting and the previously

disclosed $3.1 billion write-down. The Company also disclosed that it was unable to estimate a

date by which it would file its 2018 Form 10-K or its first quarter 2019 SEC disclosures.

       317.    In addition, Alta Mesa revised downward its previously disclosed reserve estimates

by nearly 60%.

       318.    Finally, the Company told investors that it had retained advisors to explore a

potential bankruptcy filing.

       319.    Following these disclosures, Alta Mesa’s stock declined in value by more than 25%

from a closing price on May 17, 2019 of 17.6 cents per share to a closing price on May 20, 2019



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of 13.1 cents per share. This decrease was a result of a partial but inadequate correction of

Defendants’ prior materially false and misleading statements about (a) AMH/Alta Mesa oil

production and drilling methods; (b) Kingfisher’s prospects and expected revenue, and (c) Alta

Mesa’s internal controls and/or a partial materialization of foreseeable risks concealed by

Defendants’ prior materially false and misleading statements.

       320.    With respect to foregoing disclosures alleged herein, the declines in Alta Mesa’s

stock price were a direct and proximate result of Defendants’ scheme being revealed to investors

and to the market and/or the materialization of risks that Defendants had concealed from the

market. The timing and magnitude of Alta Mesa’s stock price declines negate any inference that

the economic losses and damages suffered by Plaintiff was caused by changed market conditions,

macroeconomic factors, or even Alta Mesa-specific facts unrelated to Defendants’ fraudulent

conduct.

X.     NO SAFE HARBOR

       321.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The specific statements pleaded herein were not “forward-looking statements” nor were they

identified as “forward-looking statements” when made. Nor was it stated with respect to any of

the statements forming the basis of this Complaint that actual results “could differ materially from

those projected.” To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Alternatively, to the

extent that the statutory safe harbor does apply to any forward-looking statements pleaded herein,

Defendants are liable for those false forward-looking statements because at the time each of those



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forward-looking statements was made, the particular speaker knew that the particular forward-

looking statement was false, and/or the forward-looking statement was authorized and/or approved

by an executive officer of Alta Mesa who knew that those statements were false when made.

                                    *              *               *
          322.   Taking into account, inter alia, tolling of the limitations period by the filing of the

class action complaint against Defendants in the Class Action, Plaintiffs have brought their

Exchange Act claims within two years of discovery of the violations alleged herein, and within

five years of the violations alleged herein. Consequently, Plaintiffs’ Exchange Act claims are

timely.

                                              COUNT I

           For Violations of Section 10(b) of the Exchange Act and SEC Rule 10b-5
          Against Alta Mesa, the Management Defendants, and the Board Defendants

          323.   Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

          324.   During the relevant period, Alta Mesa, the Management Defendants, and the Board

Defendants carried out a plan, scheme, and course of conduct that was intended to, and did, (i)

deceive the investing public, including Plaintiffs, as alleged herein; and (ii) cause Plaintiffs to

purchase Alta Mesa common stock at artificially inflated prices.

          325.   Alta Mesa, the Management Defendants, and the Board Defendants (i) employed

devices, schemes, and artifices to defraud; (ii) made untrue statements of material fact and omitted

to state material facts necessary to make the statements made not misleading; and (iii) engaged in

acts, practices, and a course of business that operated as a fraud and deceit upon the purchasers of

the Company’s common stock in an effort to maintain artificially high market prices for Alta Mesa

common stock in violation of Section 10(b) of the Exchange Act and SEC Rule 10b-5.


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       326.    Alta Mesa, the Management Defendants, and the Board Defendants, individually

and in concert, directly and indirectly, by the use, means or instrumentalities of interstate

commerce and of the mails, engaged and participated in a continuous course of conduct to conceal

adverse material information about the Company’s financial well-being, operations, and prospects.

       327.    During the relevant period, Alta Mesa, the Management Defendants, and the Board

Defendants made the false statements specified above, which they knew or recklessly disregarded

to be false or misleading in that the statements contained misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading.

       328.    Alta Mesa, the Management Defendants, and the Board Defendants had actual

knowledge of the misrepresentations and omissions of material fact alleged in this complaint, or

recklessly disregarded the true facts that were available to them. These Defendants engaged in

this misconduct to conceal Alta Mesa’s true condition from the investing public and to support the

artificially inflated prices of the Company’s common stock.

       329.    The dissemination of the materially false and misleading information and failure to

disclose material facts, as set forth above, artificially inflated the market price of Alta Mesa’s

common stock. In ignorance of the fact that the market prices were artificially inflated, and relying

directly or indirectly upon the materially false and misleading statements made by Alta Mesa, the

Management Defendants, and the Board Defendants, and upon the integrity of the market in which

the Company’s securities trade, or upon the absence of material adverse information that was

recklessly disregarded by Alta Mesa, the Management Defendants, and the Board Defendants, but

not disclosed in public statements by Alta Mesa, the Management Defendants, and the Board

Defendants, Plaintiffs purchased Alta Mesa common stock at artificially inflated prices and thus



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suffered damages. Plaintiffs would not have purchased the Company’s common stock at the prices

they paid, or at all, had they been aware that the market prices for Alta Mesa’s common stock had

been artificially inflated by the fraudulent course of conduct of Alta Mesa, the Management

Defendants, and the Board Defendants.

       330.     As a direct and proximate result of the wrongful conduct of Alta Mesa, the

Management Defendants, and the Board Defendants, Plaintiffs suffered damages in connection

with their purchases of the Company’s common stock during the relevant period.

       331.     By virtue of the foregoing, Alta Mesa, the Management Defendants, and the Board

Defendants violated Section 10(b) of the Exchange Act and SEC Rule 10b-5.

                                           COUNT II
                      For Violations of Section 20(a) of the Exchange Act
                                    Against All Defendants
       332.     Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       333.     As alleged above, Alta Mesa, the Management Defendants, and the Board

Defendants violated Section 10(b) of the Exchange Act and SEC Rule 10b-5 by their acts and

omissions as alleged in this complaint.

       334.     Each Defendant acted as a controlling person of Alta Mesa within the meaning of

Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a). By virtue of their high-level positions,

participation in and awareness of the Company’s operations, direct involvement in the day-to-day

operations of the Company, and intimate knowledge of the Company’s actual performance, and

their power to control public statements about Alta Mesa, Defendants had the power and ability to

control the actions of Alta Mesa and its employees, as well as the Management Defendants and

the Board Defendants. By reason of this conduct, Defendants are liable under Section 20(a) of the


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Exchange Act.

                                              COUNT III
       Violations of Section 18 of the Exchange Act Against Alta Mesa, the Management
                             Defendants, and the Board Defendants
       335.     Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       336.     As alleged herein, the Defendants caused statements to be made in Alta Mesa’s

2017 Form 10-K that were, at the time and in light of the circumstances under which they were

made, false or misleading with respect to material facts.

       337.     An investment analyst working on behalf of Plaintiffs read and actually relied upon

information contained in Alta Mesa’s 2017 Form 10-K (to the extent each such document was on

file with the SEC at the time) in making each purchase of ALTA MESA common stock.

       338.     In ignorance of the falsity of Defendants’ statements, or of the true facts, Plaintiffs

purchased Alta Mesa common stock in actual, justifiable, eyeball reliance upon the representations

made by Alta Mesa, the Management Defendants, and the Board Defendants.

       339.     Defendants’ materially false and misleading statements and omissions of material

fact artificially inflated the price of Alta Mesa common stock.

       340.     Had they known the true facts, Plaintiffs would not have purchased Alta Mesa

common stock and/or would not have purchased the shares at the inflated prices it paid.

       341.     Upon disclosure of the true facts, the price of Alta Mesa common stock dropped,

and Plaintiffs have suffered damages in an amount to be proven at trial.

       342.     By reason of the foregoing, Defendants Alta Mesa, the Management Defendants,

and the Board Defendants are liable to Plaintiff for violations of Section 18 of the Exchange Act,

15 U.S.C. §78r.


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                                              COUNT IV
                    Violations of Section 14(a) of the Exchange Act Against
       Alta Mesa, the Proxy Defendants (Except for Walker and Coates) and Riverstone
        343.    Plaintiffs Alyeska Master Fund, L.P. and Alyeska Master Fund 2, L.P. repeat and

reallege each and every paragraph contained above as if set forth herein.

        344.    As alleged above, the Proxy provided to Silver Run shareholders, including

Plaintiffs Alyeska Master Fund, L.P. and Alyeska Master Fund 2, L.P. contained numerous

materially false and misleading statements.

        345.    As a direct result of these materially false and misleading statements, Plaintiffs

Alyeska Master Fund, L.P. and Alyeska Master Fund 2, L.P. were precluded from exercising their

right to seek redemption of their Silver Run II shares prior to the Merger on a fully informed basis

and were induced to vote their shares and accept inadequate consideration in connection with the

Merger. The materially false and misleading Proxy used to obtain shareholder approval of the

Merger deprived Plaintiffs Alyeska Master Fund, L.P. and Alyeska Master Fund 2, L.P. of their

right to a fully informed shareholder vote in connection therewith and the full and fair value for

their Silver Run II shares.

        346.    The false and misleading statements in the Proxy were material in that a reasonable

shareholder would have considered them important in deciding how to vote on the Merger. In

addition, a reasonable investor would view a full and accurate disclosure as significantly altering

the total mix of information made available in the Proxy and in other information reasonably

available to shareholders.

        347.    The Proxy Defendants (except Walker and Coates) and Riverstone, jointly and

severally, solicited and/or permitted use of their names in solicitations contained in the Proxy. Alta

Mesa was the issuer of the Proxy and permitted the use of its name in the Proxy by allowing the


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Proxy to represent, among other things, that the Merger was expected to generate positive returns

and was in the best interests of shareholders.

       348.    Defendant Hackett signed the cover letters for the Proxy, and otherwise permitted

the use of his name in the Proxy.

       349.    The Proxy was issued “By Order of the Board of Directors” and “as part of the

solicitation of proxies by [Silver Run’s] board of directors.” Moreover, the Proxy Defendants

(except Walker and Coates) permitted the use of their names by, among other things, allowing the

Proxy to represent that they recommended the Merger.

       350.    Riverstone was Silver Run’s sponsor. At the time the Proxy was issued, Silver

Run’s management team was employed by Riverstone and the Board was closely affiliated with

and controlled by Riverstone.

       351.    By means of the Proxy and the documents attached thereto or incorporated by

reference therein, the Alta Mesa, the Proxy Defendants, and Riverstone sought to secure the

approval of Plaintiffs Alyeska Master Fund, L.P. and Alyeska Master Fund 2, L.P. for the Merger,

and solicited proxies from those Plaintiffs.

       352.    Each Defendant named in this Count acted intentionally and with scienter in

making the false and misleading statements of material facts, and failing to update their statements,

which were false at the time they were issued, and were also rendered further false and misleading

by additional material information which arose after the dissemination of these statements and

before the vote on the Merger. Each Defendant named in this Count acted fraudulently, and not

negligently, with respect to the proxy.

       353.    The solicitations described herein were essential links in the accomplishment of the

Merger. As a result of these solicitations, Silver Run shareholders approved the Merger.



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          354.   Plaintiffs Alyeska Master Fund, L.P. and Alyeska Master Fund 2, L.P. were denied

the opportunity to make an informed decision in voting on the Merger and were damaged as a

direct and proximate result of the untrue statements of material facts set forth herein.

          355.   By reason of the foregoing, Alta Mesa, the Proxy Defendants (except Walker and

Coates) and Riverstone violated Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a), and Rule

14a-9 promulgated thereunder, 17 C.F.R. § 240.14a-9, and did so fraudulently, not negligently.

                                              COUNT V
                       Violations of Section 20(a) of the Exchange Act Against
                      the Proxy Defendants and the Control Entity Defendants
          356.   Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

          357.   As alleged above, Alta Mesa, the Proxy Defendants (except Walker and Coates)

and Riverstone violated Section 14(a) of the Exchange Act by their acts and omissions alleged

herein.

          358.   Each of the Proxy Defendants and Control Defendants acted as controlling persons

within the meaning of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a). By virtue of their

ownership interest, high-level positions, participation in and/or awareness of the Company’s

operations, direct involvement in the day-to-day operations of the Company, control over material

operational data and/or intimate knowledge of the Company’s actual performance, and their power

to control the Proxy, the Proxy Defendants and Control Entity Defendants had the power and

ability to control the information contained in the Proxy. Indeed, Defendants Bayou City, HPS

and ARM Energy provided the operational information contained in the Proxy and were unjustly

enriched when they received over $1.3 billion from the Merger. By reason of such conduct, the

Proxy Defendants and Control Entity Defendants are liable pursuant to Section 20(a) of the


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Exchange Act.

         359.   Plaintiffs Alyeska Master Fund, L.P. and Alyeska Master Fund 2, L.P. were denied

the opportunity to make an informed decision in voting on the Merger and were damaged as a

direct and proximate result of the materially untrue statements in the Proxy and other solicitations

described herein.

         360.   By reason of the foregoing, the Proxy Defendants and the Control Entity

Defendants violated Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

                                         COUNT VI
                                 Common Law Fraud Against
                Alta Mesa, the Management Defendants, and the Board Defendants
         361.   Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

         362.   As alleged above, Alta Mesa, the Management Defendants, and the Board

Defendants made material misrepresentations of material fact as set forth above.

         363.   These misrepresentations were made intentionally, or at a minimum, recklessly, to

induce reliance thereon by Plaintiffs when making decisions to invest in Alta Mesa’s common

stock.

         364.   These misrepresentations constitute fraud and deceit under the common law.

         365.   Plaintiffs (through their investment manager) actually, reasonably and justifiably

relied upon the representations when making decisions to purchase Alta Mesa’s common stock

and did not know of any of the misrepresentations or omissions.

         366.   Plaintiffs would not have purchased Alta Mesa’s common stock at the prices it paid,

or at all, had they known the truth.

         367.   As a direct and proximate result of the fraud and deceit by Alta Mesa, the

Management Defendants, and the Board Defendants, Plaintiffs suffered damages in connection

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with their investment in Alta Mesa’s common stock.

       368.     Defendants’ wrongful conduct, as described above, was malicious, reckless,

willful, and was directed at the general investing public. Accordingly, punitive damages, in

addition to compensatory damages, are appropriate to deter fraudulent conduct of this kind.

                                             COUNT VII
                 Violation of Texas Business and Commerce Code § 27.01 Against
                Alta Mesa, the Management Defendants, and the Board Defendants
       369.     Plaintiffs repeat and reallege each and every paragraph contained above as if set

forth herein.

       370.     As alleged above, Defendants Alta Mesa, the Management Defendants, and the

Board Defendants made false representations of past or existing material facts.

       371.     These misrepresentations were made intentionally, or at a minimum, recklessly, to

induce reliance thereon by Plaintiffs when making decisions to invest in Alta Mesa’s common

stock. Alta Mesa was a corporation at the time of these misrepresentations.

       372.     These misrepresentations constitute fraud under Section 27.01(a) of the Texas

Business and Commerce Code.

       373.     Plaintiffs (through their investment manager) actually, reasonably and justifiably

relied upon the representations when making decisions to purchase Alta Mesa’s common stock

and did not know of any of the misrepresentations or omissions.

       374.     Plaintiffs would not have purchased Alta Mesa’s common stock at the prices it paid,

or at all, had they known the truth.

       375.     As a direct and proximate result of the fraud and deceit by Alta Mesa, the

Management Defendants, and the Board Defendants, Plaintiffs suffered damages in connection

with their investment in Alta Mesa’s common stock.


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        376.   Defendants’ wrongful conduct, as described above, was undertaken with actual

awareness of the falsity of their statements. Accordingly, exemplary damages, in addition to

compensatory damages, are appropriate under Section 27.01(c) of the Texas Business and

Commerce Code

        377.   By virtue of their violation of Section 27.01 of the Texas Business and Commerce

Code, Defendants are also liable to Plaintiffs for reasonable and necessary attorneys’ fees, expert

witness fees, costs for copies of depositions, and costs of court pursuant to Section 27.01(e).

XI.     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests relief and judgment, as follows:

        (a)    Awarding compensatory or rescissory damages against Defendants, jointly and

severally, for all damages sustained as a result of Defendants’ wrongdoing, in an amount to be

proven at trial, including pre-judgment and post-judgment interest thereon;

        (b)    Awarding punitive damages against Defendants;

        (c)    Awarding Plaintiff its reasonable costs and expenses incurred in this action,

including attorneys’ fees, expert fees, costs for copies of depositions, and costs of court; and

        (d)    Such equitable, injunctive, or other and further relief as the Court may deem just

and proper.

XII.    JURY DEMAND

        Plaintiff hereby demands a trial by jury as to all issues so triable.
Dated: April 13, 2022


                                              By: /s/ Jules P. Slim


                                              Jules P. Slim
                                              State Bar No. 00793026
                                              Attorney and Counselor

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